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            UNITED STATES COURT OF APPEALS
          FOR THE DISTRICT OF COLUMBIA CIRCUIT
           ____________________________________________
                            No. 23-3034
            ____________________________________________

UNITED STATES OF AMERICA,                                 Appellee,

           v.

NIZAR TRABELSI,                                           Appellant.

 __________________________________________________________________

          RESPONSE IN OPPOSITION TO APPELLEE’S
            MOTION FOR SUMMARY AFFIRMANCE

      Appellee’s Summary Affirmance Motion cannot support the

“heavy burden” this Court imposes before it will undertake the unique

action of summarily disposing of an appellant’s appeal on the merits

without full briefing. United States v. Allen, 408 F.2d 1287, 1288 (D.C.

Cir. 1969) (per curium). First, before summary affirmance can issue,

appellee’s Motion must “demonstrate that the merits of the claim are so

clear as to justify expedited action," Walker v. Washington, 627 F.2d

541, 545 (D.C. Cir.) (per curium), cert. denied, 449 U.S. 994 (1980).

Second, it must show that further briefing and argument are not

necessary. See Ambach v. Bell, 686 F.2d 974, 979 (D.C. Cir. 1982) (per



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curiam); accord, United States v. Allen, 408 F.2d 1287, 1288 (D.C. 1969)

Appellee’s Motion makes neither showing.

      Contrary to appellee’s argument, Trabelsi’s appeal does not

merely seek reconsideration of this Court’s prior two decisions in United

States v. Trabelsi, 28 F.4th 1291 (D.C. Cir. 2022) (“Trabelsi V”); and

United States v. Trabelsi, 845 F.3d 1181 (D.C. Cir. 2017) (“Trabelsi II”).

Instead, it satisfies this Court’s requirement for full review by

presenting significant new evidence not earlier obtainable. See, United

States v. Bell, 5 F.3d 64, 67 (4th Cir. 1993). That evidence includes: a

September 12, 2022 Judgment by the Brussels Court of Appeals; a

December 7, 2022 Letter from the Belgium Minister of Justice notifying

the U.S. Department of Justice of the Court’s Judgment; and a

December 13, 2022 Diplomatic Notice by the Kingdom of Belgium

requesting Trabelsi’s return under the Judgment.

      Applying this Court’s reasoning in Trabelsi V, the 2022 Diplomatic

Notice constitutes an act of state by the executive of Belgium for

Trabelsi’s return. See, Trabelsi V, 28 F.4th at 1299. And because the

Notice’s language does not evidence conflicting legal interpretations

between the country’s executive and its judicial authorities it should be



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honored. Id. Consistently, the Trabelsi V Court ruled that “[i]n the

context of extradition proceedings, courts have refrained from finding

extradition orders issued by the state’s executive invalid under the act

of state doctrine.” Accordingly, appellee’s motion for summary

affirmance to the contrary should be denied.

                     SUMMARY OF THE ARGUMENT

      Trabelsi’s appeal seeks this Court’s review of new evidence chiefly

in the form of a 2022 Diplomatic Notice issued by the executive of

Belgium that includes, for the first time, a 2022 Judgment by the

Brussel’s Court of Appeals requesting the “return of Nizar Trabelsi and

to discuss the conditions of his return.” See Brussels Court of Appeals

Interlocutory Ruling, Docket No. 2020/AR/508 at ¶ 76 (Sep. 12, 2022)

(hereinafter “2022 COA” at Ex. 3); see also, “2022 Diplomatic Notice” at

Ex. 1. In addition, and also for the first time, the executive’s Notice

fails to expressly state any disagreement with the court’s request for

return. Id. In these two ways, the 2022 Notice provides new evidence—

evidence significantly different from that contained in the 2014 and

2019 Notices reviewed in Trabelsi II or Trabelsi V, respectively.




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      This Court’s analysis in Trabelsi V focused on the text of the

language in the 2019 Diplomatic Notice and Article 5 of the Belgium

Extradition Treaty with the United States. Trabelsi V, 28 F.4th 1299,

citing, Medellin v. Texas, 552 U.S. 491 (2008). In Trabelsi V, the Court

noted that the plain language in the 2019 Notice included the

executive’s express disagreement with the Court’s 2019 Judgment. See,

Trabelsi V , 28 F.4th 1298. Specifically, it found that the 2019 Notice

stated “[t]he [2019] judgment is contrary to the Extradition order of 23

November 2011. . . .” Id.; see 2019 Notice at Ex. 2. As a result, the issue

before the Trabelsi V Court then (unlike now) was which interpretation

controlled when the Belgium Government and its court disagree on a

Diplomatic Notice of a state act. Id. In contrast, the language in the

2022 Diplomatic Notice does not express any disagreement with its

Court’s 2022 Judgment. Thus, the evidence and issue on review here

are significantly different so as to deny summary affirmance.

      It is important to note that the Government’s current lack of

disagreement should not be read in a vacuum. In context, its new

position is likely motivated by the fact that the 2022 Judgment imposed

a Є10,000K penalty against the Government for each of the 10 years



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Trabelsi has been imprisoned in the United States. (COA p. 64, ¶76, at

Ex. 3). It is also noteworthy that the European Court of Human Rights

previously fined the Government Є90,000K in damages for

inappropriately extraditing Trabelsi to the United States for trial on the

same offense he had served 10 years for in Belgium. See, Council of

Europe, European Court of Human Rights, Press Release ECHR 247, p.

4 (April 9, 2014). And in February 2022, a special envoy from the

United Nations visited Trabelsi and wrote a Mandates of the Special

Rapporteur on Torture to the United States expressing concerns about

the “severe mental impact of his prolonged solitary confinement.” See,

Special Rapporteur against Torture, Special Rapporteur on the

promotion and protection of human rights and fundamental freedoms . .

., (UN) p. 1 Communication to the United States of America, JAL, USA

1/2022 (25 Feb 2022) https://spcommreports.ohchr.org/, (hereinafter

“UN Special Rapporteur” at Ex. 5). Finally, by Letter dated December 7,

2022 the Belgian Minister of Justice notified the U.S. Department of

Justice of the Court of Appeals’ 2022 Judgment and its request that

Trabelsi be allowed medical visits. (2022 Ltr. at Ex. 4).




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      Mr. Trabelsi is a 53-year-old, non-native speaker, in poor health,

who has been incarcerated for 21 years. The last 10 years of

incarceration have been in solitary confinement in the United States

under Special Administrative Measures. In July 2022, after

acknowledging Trabelsi had no legal training or trial experience, the

district court ruled he could represent himself during his eight-week

jury trial beginning May 8, 2023. In March 2023 Trabelsi wrote to the

court stating he was not prepared. Thereafter, standby counsel filed a

Motion for a medical evaluation to determine Trabelsi’s fitness to

represent himself in such a long jury trial: the Motion was denied

without a hearing. (Order1 at Ex. 9).

      Because this appeal seeks review of new and significant evidence

not previously adjudicated in this Circuit’s prior opinions, appellee’s

motion for summary affirmance should be denied and full briefing

ordered. In addition—consistent with the request presented in the

Court of Appeal’s 2022 Judgment, as conveyed without objection by the

Minister of Justice’s 2022 letter to the U.S. Department of Justice, and


1“Doc. No. __” refers to the docket number of the document as identified
on the U.S. District Court’s Docket Sheet for United States v. Trabelsi,
06-cr-0089.

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also as consistent with Sixth Amendment guarantees—appellant seeks

a limited remand ordering medical visits and an evaluation.

                 ARGUMENT IN RESPONSE

 I.   Summary Affirmance is Not Warranted

      A.   The Belgium Executive’s 2022 Diplomatic Notice, and the
           2022 Judgment from the Brussels Court of Appeals,
           Constitute New Evidence Warranting Full Briefing

      This appeal is meritorious because it seeks review of an entirely

different 2022 Diplomatic Notice and Judgment by the Brussels Court

of Appeals than previously reviewed by this Circuit. Notably, the

language in the 2022 Diplomatic Notice differs from that in its 2014 and

2019 Notices reviewed in Trabelsi V. Consistent with this Circuit’s

reasoning in Trabelsi V, and prevailing cannons of interpretation, this

Court’s review rests on a textualist reading of the plain language in the

2022 Notice. Trabelsi V , 28 F.4th at 1299; see also, Scalia & Garner,

Reading Law: The Interpretation of Legal Text, pp 56-59, 93-100 (1st

Ed. 2012) (hereinafter “Reading Law).

      Comparing the language in the Belgium Executive’s 2019 Notice,

to its 2022 Notice, the latter presents new evidence for this Court’s

review in two respects. First, the 2022 Notice contains no express



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language that it now disagrees with its Court’s 2022 Judgment on its

request for Trabelsi’s return. (2022 Notice at Ex. 1; compare, 2019

Notice at Ex. 2). Nor does the language in the 2022 Notice incorporate

the disagreement found in its 2014 and 2019 Notices by reference. Id.

Second, the language in the 2022 Notice includes—for the first time—

an affirmative request for “the return of Nizar Trabelsi and to discuss

the conditions of his return” in fulfillment of the court’s 2022 Judgment.

Id. Thus, the plain language in the Notices differs as follows:

     2022 Belgium Diplomatic        2019 Belgium Diplomatic Notice To
     Notice To U.S. Embassy         U.S. Embassy
     On September 12, 2022,              The Government of Belgium has
     the Brussels Court of          the honor to refer to its 23 November
     Appeals ordered the            2011 decision to grant the extradition
     Belgian Government to          of Nizar Trabelsi for trial in the
     request by diplomatic note     United States District Court for the
     the return of Nizar            District of Columbia on the charges
     Trabelsi and to discuss the    set out in the indictment pending in
     conditions of his return.      06-089.
     The Government of                   It has come to the attention of the
     Belgium submits this           Mnistry of Justice that counsel for
     Diplomatic Note, with the      Nizar Trabelsi has filed a motion to
     abovementioned request,        reconsider motion to dismiss for
     in fulfillment of the order.   violation of the Extradition Treaty. . .
                                    . The motion is based upon the 8
                                    August 2019 judgment by the Court of
                                    Appeal of Brussels. This judgment
                                    was notified to the U.S. Justice
                                    Department on 9 August 2019. . . .
                                    . . . . The judgment is contrary to the
                                    Extradition order of 23 November


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                                  2011 and in our view, therefore
                                  contrary to the clear wording of
                                  article 5 of the Treaty. For this
                                  reason, the Belgian Government has
                                  appealed the judgment before the
                                  Supreme Court.
                                     Therefore, the Ministry of Justice
                                  confirms, as stated in the diplomatic
                                  note no. C1.2/33 of 29 October 2014. .

                                  [The 2019 Notice then continues in
                                  the same disagreeable vein for an
                                  additional four paragraphs.]


(2022 and 2019 Diplomatic Notices at Exs. 1 & 2, respectively

(emphasis added)).

      Under the well-settled Supremacy-of-Text Principle of

interpretation, the language in the Government’s 2022 Notice must be

read as it is—sine disagreement by the Government. As directed by

Scalia and Garner’s renowned work Reading Law, “[t]he words of a

governing text are of paramount concern, and what they convey, in

their context, is what the text means.” Reading Law, supra., p. 56.

Consistently, this Court’s analysis in Trabelsi V, focused on the text of

the language in the 2019 Diplomatic Notice affirming dismissal. See,

Trabelsi V, 28 F.4th 1299, citing, Medellin v. Texas, 552 U.S. 491 (2008).

From that focus, the Court turned to the text of the 2019 Notice and


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 found it disagreed with the Court of Appeal’s Judgment because it

 “characterized the August 2019 Court of Appeal judgment as contrary

 to the Extradition Order.” Id. at 1302.

      Further comparison of the texts in the two Notices reveals that

 the Government knew how to express its disagreement with its Courts’

 Judgments and chose not to do so in its 2022 Notice—three years later.

 Employing the Omitted-Case, and the Negative-Implication, Cannons of

 interpretation the district court erred in reading into the 2022

 Diplomatic Note a disagreement by the Government that its text had

 abandoned. Reading Law, supra. pp. 93 & 107. Accepting the text of

 the 2022 Diplomatic Notice, the Executive facially agrees with (at best),

 or acquiesces to (at a minimum), the request for Trabelsi’s return.

      Thus, this appeal raises an issue not previously before the Court.

 That issue concerns the United States’ response to a Government Notice

 which facially agrees with its Court of Appeal’s request for an

 extradited defendant’s return. Indeed, this appeal, and the 2022 Notice

 and Judgment it turns on, seeks review of a unified 2022 Diplomatic

 Notice. Consequently, it presents “’significant new evidence, not earlier

 obtainable in the exercise of due diligence’” and summary affirmance is



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 inappropriate. Id. at 1298, quoting United States v. Bell, 5 F.3d 64, 67

 (4th Cir. 1993) (internal quotation marks and citation omitted);

 LaSHawn A. v. Barry, 87 F.3d 1389, 1393 (D.C. Cir. 1996) (en banc).

      Appellee’s reliance on United States v. Glover, 731 F.2d 41 (D.C.

 Cir. 1984) to the contrary is misplaced. The relevant facts in Glover are

 distinguishable. Id. In Glover, unlike here, the issue was whether

 summary affirmance was appropriate where the government sought the

 immediate retrial of a defendant on a domestic issue of criminal law.

 The Glover court found summary affirmance appropriate because there

 (unlike here) the appeal was based on:

      [U]ndisputed facts and presents a single uncomplicated legal
      issue to be decided in an area where the case law is well
      developed.
 Id. at 45. In contrast, Trabelsi’s appeal presents disputed facts in the

 form of significant new evidence and an original issue. Appellee’s

 unmoored concerns about the potential unavailability of an unnamed,

 not counted number of potential witnesses are insufficient to show

 irreparable harm. To the contrary, it is Trabelsi who will suffer

 irreparably by being rushed to represent himself in an 8-week jury trial,

 in a language he barely knows, without legal training, and in a manner



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 that cannot guarantee his Sixth Amendment right to a fair trial. See,

 Indiana v. Edwards, 554 U.S. 164, 185 (2008), quoting, United States v.

 Gonzalez-Lopez, 548 U.S. 140, 145 (2006) (“[T]he purpose of the rights

 set forth in [the Sixth] Amendment is to ensure a fair trial.”).

      B.    The Trabelsi V Court rejected Appellee’s Argument
            that the Government’s Diplomatic Notice Does Not
            Constitute an Act of State

      Appellee’s argument, that the 2022 Diplomatic Notice is not an

 Act of State but a mere document of notice, lacks support for three

 reasons. First, all of the government’s representations to the district

 court referred to the Notice as a “diplomatic note” from the Belgium

 executive. For example, in its January 19, 2023 Status Report to the

 district court, the government declared that a “diplomatic note” was

 sent from the “Belgian [sic] Government to request by diplomatic note

 the return of defendant Trabelsi and to discuss the conditions of his

 return.” (Dkt. No. 500). At no time did the government claim it was

 actually just a “letter” from the Minister of Justice. This Court should

 reject appellee’s attempt to do so now.

      Second, in Trabelsi V, this Court rejected appellant’s argument

 that the March 5, 2020 Letter from the Minister of Justice amounted to



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 an “act of state” representing the Belgium state’s position (or vice

 versa). Id. at 1301. In rejecting this argument, the Court relied on the

 express language in the Minister of Justice’s letter. Specifically, the

 Court was swayed by the text of the letter’s subject heading which

 reads: Nizar Trabelsi. notification of Judgment of the First Instance

 (Civil) Court for Brussels.” (Ltr. at Ex. 6) (emphasis added). That

 notification language is not present in Belgium’s Diplomatic Notices,

 which are all addressed to the Embassy of the United States in

 Brussels—not the U.S. Department of Justice. Consequently, the

 Trabelsi V Court ruled that “[t]he [Minister of Justice’s] letter does not

 purport to stake out Belgium’s official position on the scope of Trabelsi’s

 extradition.” Trabelsi V, 28 F.4th 1301.

      Third, appellee’s argument that the 2022 Diplomatic Notice is a

 mere notifying letter from the Minister of Justice is defeated by the fact

 that the Minister of Justice actually wrote a separate notifying letter

 regarding the 2022 Judgment. By letter dated December 7, 2022 the

 Minister of Justice wrote to a trial attorney in the Office of

 International Affairs of the U.S. Department of Justice stating:

      The judgment dated September 12th 2022 by the Court of Appeals
      for Brussels ordered the Belgian Government to request the


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      United States to allow Nizar Trabelsi to receive the visit of a
      medical doctor or medical doctors of his own choice.

 (2022 Ltr. at Ex. 4). The fact that the Minister of Justice wrote a

 separate Letter notifying of the Court of Appeal’s 2022 Judgment

 refutes appellee’s argument that the 2022 Diplomatic Notice was the

 same notifying document.

      II.   The Minister of Justice’s 2022 Letter, and the Court of
            Appeal’s Judgment, Should Be Honored to Allow
            Trabelsi its Requested Medical Visits.

      The 2022 Court of Appeals Judgment at issue in this appeal

 contains express concerns over Trabelsi’s health and conditions of

 confinement. (COA ¶ 70 at Ex. 3). The Court relies on a March 2021

 medical evaluation of Trabelsi which it characterizes as “very detailed,

 [and] it is not subject of any specific opposition by the Belgian State.”

 (COA at ¶70, text p. 57) (emphasis added). Quoting from that

 evaluation, the Court found:

      First of all, it’s important to note that Mr. Trabelsi was in solitary
      confinement for the duration of his incarceration in the United
      States. For five years, he slept on a hard floor and there was a
      light on in his cell 24 hours a day. From the records I reviewed, it
      appears that he never went outside. Also, since his native
      language is not English, he was not able to communicate effectively
      with anyone except in a rudimentary manner. (Id. Text pp 57-58)

      ***


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      [I]n October 2020, after an in-person court hearing, Mr.
      Trabelsi had a documented panic attack. In March 2019, Mr.
      Trabelsi stated that he would not speak to the mental health
      officer Without an in-person translator in a language in which he
      can effectively communicate his mental health needs. No in-
      person translator was offered or used for medical or mental health
      care or treatment. Years of isolation have most likely left him with
      severe psychological problems, but there appears to have been no
      real attempt to try to find a human being he could trust to speak to
      him in French. I fear that his withdrawal and unwillingness to be
      seen is evidence of severe mental distress rather than complete
      mental health, as indicated on the forms. (Id. p. 60)

      ****
      . . . . His isolation, inability to interact with other human beings,
      lack of sunlight and exercise, and constant artificial light that
      prevents him from sleeping normally combine to affect his mind
      and body in severely detrimental ways. As the months and years
      go by, it seems almost certain that his mental and physical
      condition will continue to deteriorate.

 Id. p. 61 (emphasis added). The evaluation also contained a laundry

 list of Trabelsi’s specific health problems which included depression,

 anxiety, and paranoia. Id.

      Because the Court of Appeals largely attributed Trabelsi’s current

 health problems to his 10 years of solitary confinement in the United

 States2, it ordered the Belgium Government to pay him Є10,000.00K


 2
  On February 25, 2022 the United Nations issued a Mandate of the
 Special Rapporteur to the United States concerning Trabelsi’s mental
 health conditions noting that “Fifth and Fourteenth Amendments of the
 US Constitution also guarantee the fundamental right to due process.”

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 per year of detention. (COA at ¶ 71, p. 61). Also, and “in order for the

 appellant to benefit from adequate medical care,” the Court of Appeals

 ordered the Government to request from the American authorities that

 Trabelsi be allowed visits by physicians of his choice. Id. at ¶ 73.

      In compliance with the Court of Appeal’s Judgment, on December

 7, 2022, the Minister of Justice wrote to the U.S. Department of

 Justice’s Office of International Affairs and conveyed its request for “the

 United States to allow Nizar Trabelsi to receive a medical doctor or

 medical doctors of his choice.” (Ltr. at Ex. 4). In March 2023 Trabelsi

 wrote the court that he was not prepared to try his own case stating:

      “I’m vERy Far To be Ready FoR Trial. I Blame The p Defender
      FoR please. AS you kNow I’m a Foreign inmate when I came To
      U.S.. I DiDn’T speak 1 WoRD in English I Tried To learn isn’T
      easy To use The Dictionary oNly and Do NoT have CoNTACT with
      inmates.”

 (Ltr at Ex. 7) (spelling and grammar errors in original.) Thereafter,

 standby counsel filed a Motion to Stay the May 8, 2023 jury trial. The

 Motion sought a medical evaluation to determine if Trabelsi’s

 deteriorating cognitive abilities, and restrictive Special Administrative




 See, U.N. Special Rapporteur against Torture, supra, Communication to
 the United States of America, JAL, USA 1/2022 at 3 (Feb. 25, 2022).

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 Measures (SAM)3 of confinement, prevented him from effectively

 representing himself4 in an 8-week jury trial. (Doc. No. 552). The

 district court denied the Motion ruling that “standby counsel had failed

 to produce any evidence that Trabelsi suffers from a ‘severe mental

 illness,’ rendering him incompetent to conduct the trial on his own.”

 (Order at Ex. 9).

      The district court erred by denying Trabelsi his requested medical

 assistance since the request was consistent with that made in the 2022

 Court of Appels’ Judgment as conveyed by the Minister of Justice’s

 December 2022 Letter without objection, and also Sixth Amendment

 guarantees of the right to effective counsel. In Indiana v. Edwards, 128

 S.Ct. 2379 (2008) the U.S. Supreme Court ruled that a defendant who is




 3
  See, Allison Frankel et al., The Darkest Corner: Special Administrative
 Measures & Extreme Isolation in the Federal Bureau of Prisons, Allard
 K. Lowenstein Int’l Human Rights Clinic, Yale Law School (Sept. 2017)
 at 11(“There is not a single published study of solitary or supermax-like
 confinement in which nonvoluntary confinement lasting for longer than
 10 days failed to result in negative psychological effects.”)

 4
  In July 2022—after acknowledging that Trabelsi did not have legal
 training, needed an interpreter, and did not know the federal rules of
 evidence or of criminal procedure—the district court allowed him to
 represent himself in his 8-week jury trial, post-trial, and sentencing
 proceedings with standby counsel as an advisor. (Order at Ex. 9).

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 mentally competent to go to trial is not, ipso facto, entitled to represent

 himself where the defendant otherwise suffers from mental illness. In

 its ruling, the Court recognized a broad range of symptoms of severe

 mental illness including: ““[d]isorganized thinking, deficits in

 sustaining attention and concentration, impaired expressive abilities,

 anxiety”—all symptoms Trabelsi possesses. Id. at 2387 (internal

 citations omitted); see also, COA (COA ¶70, p. 61 at Ex. 3). Given the

 Court of Appeal’s 2022 Judgment indisputably found Trabelsi possesses

 these symptoms, remand is warranted to provide the medical attention

 it requests.

                               CONCLUSION

      For the reasons stated in this Response, and any appearing to this

 Court, appellant asks this Court to deny appellee’s Motion for Summary

 Affirmance and to allow this appeal to proceed to full briefing. In

 addition, consistent with the Court of Appeal’s 2022 Judgment, and the

 Minister of Justice’s related letter to the U.S. Department of Justice,

 appellant requests this Court remand proceeding for the limited

 purpose of obtaining the medical visits it requests including an

 evaluation of Mr. Trabelsi.



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 Dated: April 25, 2023.

                                  Respectfully submitted,

                                  /s/ Robin M. Earnest
                                  Robin M. Earnest (D.C. Bar 458304)
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                                  www.EarnestAttorneyAtLawLLC.com

                                  Counsel for Appellant
                                  (Appointed by this Court)




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                      CERTIFICATE OF SERVICE


      I hereby certify that a copy of the foregoing appellant’s

 RESPONSE TO APPELLEE’S MOTION FOR SUMMARY

 AFFIRMANCE, AND MOTION TO REMAND FOR

 MEDICAL EVALUATION was served by ECF to counsel registered to

 represent the sole appellee, the United States.

      This 25th day of April, 2023.
                                      /s/ Robin M. Earnest
                                      Robin M. Earnest
                                      Earnest Attorney at Law, LLC

                  CERTIFICATE OF COMPLAINCE

      This Motion has been prepared using Word software, Century

 Schoolbook font, 14-point proportional type size and; the body of this

 document, exclusive of the case caption, title, and signature block,

 contains 3,822 words. I understand that a material misrepresentation

 can result in the Court's striking this document and imposing sanctions.

 If the Court so requests, I will provide an electronic version of this

 document and/or a copy of the word or line print-out.

 Dated: __04/25/2023__                /s/ Robin M. Earnest
                                      Robin M. Earnest
                                      Earnest Attorney at Law, LLC



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                         INDEX of EXHIBITS


 Exhibit
 No.        DATE            Exhibit Description
 1.         12/13/2022      2022 Belgium State Diplomatic Notice
 2.         11/13/2019      2019 Belgium State Diplomatic Notice
 3.         09/12/2022      Judgment of the Brussels Court of Appeals
 4.         12/7/2022       Belgium Ministry of Justice Letter to U.S.
                            Department of Justice notifying of 2022
                            Court of Appeals Judgment requesting
                            medical visits.
 5.         02/25/2022      United Nations Mandates of the Special
                            Rapporteur on torture sent to the
                            United States.
 6.         03/05/2020      Ministry of Justice Letter to the United
                            States Department of Justice notifying of
                            2020 Judgment by First Instance (Civil)
                            Court
 7.         03/30/2023      Letter from Nizar Trabelsi “Let it be Filed”
 8.         04/14/2023      U.S. District Court Order Denying Motion
                            for Medical Evaluation
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                           EXHIBIT 1
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                               KINGDOM OF BELGIUM
                               Federal Public Service
                               Foreign Affairs,
                               Foreign Trade and
                               Development Cooperation




               our reference
               81 .6/MPl/2022/12601




      The Federal Public Service Foreign Affairs, Foreign Trade and Development Cooperation presents its
      compliments to the Embassy of the United States and has the honour to inform the Embassy of the
      following.

      On September 12, 2022, the Brussels Court of Appeals ordered the Belgian Government to request by
      diplomatic note the return of Nizar Trabelsi and to discuss the conditions of his return.
      The Government of Belgium transmits this Diplomatic Note, with the abovementioned request, in
      fulfillment of the order.                                                                 ·

     For your convenience, the said judgment is attached to this note.

     The Federal Public Service Foreign Affairs, Foreign Trade and Development Cooperation avails itself of
     this opportunity to renew to the Embassy of the United States the assurance of its highest
     consideration.




                                                                         Done in Brussels on




     To the Embassy of
     the United States

     in Brussels

     Attached:
            Arre! interlocutoire 202/AR/505


      Egmont I• Rue des Petits Carmes 15, 1000 Brussels
      Tel. +32 2 501 8111 • https://dlplomatie.belgium.be
      Twitter; MFABelgium • Facebook: Diplomatle.belglum • Jnstagram: BelgiumMFA
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                           EXHIBIT 2
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        USCA
         USCACase
              Case#23-3034
                   #20-3028       Document
                                  Document #1996420
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                                The Government of -Belgium has the honcir to refer to lts 23 November
                          201.1 decr~ion to 9rant.the ext~dltion rJ.f NIZJ5f Trabelsl tor trl~I In th~ United
                          States District: Court fer the District of COiumbia on the t:harges set out in: the
                          Indictment pending ih case no. 06·089J       .. . .            · ·               ·. ·

                                   It has come to· the attentlol'I of the .Ministry ,of Justice ·.t hat ~unsel for
                         , Nizar Trabelsl .has flied .a motion to reconsider mpfion tc;, dismiss ·for vl~_l atlon of
                           the · Extradttlen Treaty. The Mlhlstry of Justice _has reviewed this motion. The
                           motion ts.. based upon ·the .8 August 201.9 judgment bt the Court of Appeal of
                          Brussels. Th1s judgment was · notified to the U.S. Justice Department on· Sl
                          August· 2019.

                                 -Trabelsi has filed both ~n urgent (cMIJ          motion     and. a c::lvll ·motion,
                           pr.imarfly to haft all (furth·e,r) cooperation with .the United States. The main
                           reason f.or bot-h •motfons is that·it.ls alleged that the ·extradltfon of Trabefsl was
                          'IIJegal', for be.Ing In ~lolatton with the ne bis In idem clause In artlcle 5· of the
                         ·Treaty. The urg~nt (summary} motion seeking ·provlstonal · measures, was
                           denied by the Court of Ffrst Instance or Brussels. on ·23· January 2019. Trabelsl
                           has appealed· this decision. ·on 8 August. 2019 the ·Court of Appeal o'f -Bli.ls$els
                           partfally · rev~rsed this declsfon by s~atlng that t~ 'fact -based' and not the
                         .'offense based' approach of ne bis In Idem. f:iad ·to .be applied and that therefor:e
                           the ~adltion was In violation With the n~ bis. -/n Idem pr'lndpJe. Th~ Court has
                           ordered the judgment to be notified to ~he United States, The CQurt did ·not
                           order to halt aH cooperation
                                             ,
                                             '
                                                  .        between
                                                             .
                                                                     Belglutf'.I
                                                                        '      .
                                                                                 and the Uni~. States.      ..
                                                                                                                      '


                               . The ~lglum Government underlines that the 8 August 2019 judgment Is
                          c1 Juqgment. orderfng the above -stated nptific:atfon, The judgment 'J~ contr:ary to
                         •the extnKlftlon order of 23 Novemb~r i011 and in our view,. therefore contra~
                          to the clear wording of article     s
                                                             of the Jreaty. For this reason~ the Belglari
                          Government has llppeated the judgment Qefare the Supreme Court (Cour de
                          Cassati9n).                   ·




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                               Therefore, the Mini~try of Justice c:onfirms, · as stated lri the dlplomatfc.
                         note no. Cl.2/33 of 29 ;October 2014, 'the following : '

                         .       First, .the Order, which Is the decision by. the Belgian government that
                         sets forth the terms of Mr. Trabelsr"s extradition to the United- States, mal<es
                         dear that Mr. Trabelsl may be.tried ··on ·all of the charges set. out in that
                         indictment, and -that an'( similarity between the United ·states- case and the
                         Belglan case does not give- rise to any bar to his beihg tried on th~ charges In
                         that Indictment. Th~ Order is· also dear that the· prdSecut:Jon may qffer: facts
                         relating to all 28 overt acts In prosecuting Mr. Trabelsl on the charges. In the
                         irtdlctment. Neither Mr. trabelS.l's ttral on the charges set out In the Indictment,
                         nor the prosecution's offering proc:,f as to any of the overt acts ~cited in-the
                         lndictment, Is inconsistent with the Order.                                   ·

                                 In accordance with the extradition Act, the · Minister of Justice has sole
                         authority t() decfde on a 'foreign extradition request slni:e extradlti_on • I~
•                        tradltlonauy tntergovemmental cooperation. The executive Extradition OnJetls,
                         Consl$tent 'with .that authority .and with the wording and meaning of : the
                         Extradition Treaty.                      ·

                                Nor do.es such trial -~nd o~rJng .of proof vlola~e the rule of specialty. _The
                         rule of spect,lty would have been violated If ~he Unltl!rJ States would · haye
                         added · other, different charges to the orlglnijl four charge~ for which th~
                         extradltit>n -was granted, I:.~. ·a fifth, sixth etc. charge, Which nevE?r ha.ppened.

                               The Emb~ssy of Belgium u, W~lngton o.c. thanks the Department Qt
                         State for It:& coop.e.r atlon in this matter and avails itself of this opportunity ·to
                         re~w to It the ar.~uranc:e ·of Its h}ghest consideration.




                                                                       D.one In Washington o.c. on 13 November 201.9




                         U.S. Department of State
                         ae)gJan ·oesk - Room 5218
                         Mr. Michael Feldman
                         2201 C St NW, Washington, .DC 20520


                         U.S. PePartment of'Justlce
                         Attn: Mr. Thomas Saunders


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                           EXHIBIT 3
USCA Case #23-3034                    Copy
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                                                     Issued to: me. ALAMAT Dounia
                                                     art. 792 C.J.
                                                     Exempt from court fees - art. 280,2° C.Enr.

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       DUE TO :


       TRABELSI Nizar, having made election of residence at the office of his counsel, Maître
       ALAMAT Dounia in 1000 BRUSSELS, rue Emile Claus 4,

       appellant,

       represented by Maître MARCHAND Christophe, lawyer in 1060 BRUSSELS, avenue Henri
       Jaspar 128 and Maître ALAMAT Dounia, lawyer in 1000 BRUSSELS, rue Emile Claus, 4,




       against


       The BELGIAN STATE, represented by the Minister of Justice, whose offices are located at 1000
       Brussels, boulevard de Waterloo, 115

       respondent,

       represented by Mr. RENSON Bernard, lawyer in 1040 BRUSSELS, Avenue de l'Armée, 10,




       Having regard to the pleadings and in particular
           • the contradictory judgment pronounced on February 26, 2020 by the French-
             speaking court of first instance of Brussels;
           •    The appeal petition filed on April 3, 2020 at the court registry for Mr. Nizar TRABELSI;

           •    the contradictory judgment of July 15, 2020 ruling on the provisional measures
                requested by the appellant;

           •    the final additional and summary apDel submissions filed on April 2, 2021 by the
                appellant;

           •    additional appeal and summary findings in response filed on July 27, 2021 by State De
                Age ;

           • the exhibits filed with the court.



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                                                                       PLAN


       I.         Statement of Facts
       It.        Applications currently before the court
                             III.      Examination of Mr. Trabelsi's claims
             III.1.        Grievances and damages invoked by the appellant
                 III.2.  On the requests relating to the conditions of his detention in Belgium for the execution
       of sentences pronounced by the Belgian courts and the detention undergone with a              view to
       extradition
                              A.        On the exception of prescription
                              B.        On the violation of Article 3 of the ECHR, Article 10 of the Covenant on Civil and Political Rights
                                        and Article 417bis of the Criminal Code
                              C.        On the absence of an effective remedy
                  111.3.      On requests for injunctions relating to judicial cooperation
                              A.        On the main application
                              B.        On the alternative claim

                  III.4.      On the request to send a diplomatic note

                  III.5.   On the claims relating to the appellant's detention in the United States and the consequences of that
                  detention
                           A.        Fault resulting from the violation of the suspension measure ordered by the ECtHR and
                                     causal link with the alleged damage

                              B.        No statute of limitations and no obstacle resulting from the judgment of the European Court of
                                        Human Rights and the resolution of the Committee of Ministers
                              C.        Request for repatriation
                              D.        Requests related to the caller's health status

                              E.        Claims for Violation of Marriage and Continuing Relationships
                              family




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                                                       I.   STATEMENT OF THE FACTS


                                1.1.       Criminal convictions of the appellant in Belgium
       1.
       The appellant, of Tunisian nationality, was apprehended in Belgium on September 13, 2001.
       An arrest warrant was issued against him for criminal association, destruction by
       explosion, possession of weapons of war and membership of a private militia.
       The appellant admits the offences of which he is accused and by a judgment of
       September 30, 2003, the Brussels Correctional Court sentenced him to 10 years'
       imprisonment - the maximum penalty - and a fine of one thousand euros, for having,
       among other things, attempted to destroy the Belgian military base of Kleine Brogel by
       explosion, for forgery and for having been the instigator of a criminal association formed
       with the aim of attacking persons and property. According to the court, the appellant
       attempted to commit one of the most serious crimes since the independence of Belgium
       and despite the time elapsed since his arrest, he has not made amends and his ability to
       cause harm remains intact.
       Specifically, the following preventions are recognized as established:
            -   Between July 3, 2001 and September 14, 2001, to have tried to destroy the
                military base of Kleine Brogel, belonging to the Belgian State represented by the
                Minister of the National Defense, the authors having to presume that there was
                one or more people there at the time of the explosion;
            -   Between July 14, 1998 and September 14, 2001, forgery and use of forgeries
                relating to a French driving license, a Pakistani visa and a Western Union slip;
            -   Between August 23, 2000 and September 14, 2001, forgery of the seal of the
                Pakistani State;
            -   Between May 1, 2001 and October 3, 2001: association of criminals with the aim
                of attacking people or property, in this case association of people who, in one
                way or another, favored the project of carrying out a terrorist attack;
            -   Between July 2, 2001 and September 14, 2001, having received from a foreign
                person or organization, in any form whatsoever, donations, gifts, loans or other
                benefits intended to remunerate in Belgium an activity that is likely to undermine
                the integrity, sovereignty or independence of the Kingdom: in this case, having
                received a sum of $50,000;
            -   Between May 8, 2000 and September 14, 2001, having concealed a Pakistani visa;
            -   Between July 3, 2001 and September 14, 2001, having possessed an ARO machine
                pistol, a firearm deemed to be a weapon of war, without authorization;
            -   Between August 23, 2000 and September 14, 2001, having falsified a Tunisian passport;
            -   On February 8, 2002, to have degraded the walls of the cell 702 of the prison of Forest;




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            -   Between May 3, 2001 and October 14, 2001, having created, assisted or been
                part of a private militia or any other organization of individuals whose purpose is
                the use of force;
            -   Between July 3, 2001 and September 14, 2001, to have entered or stayed in the
                Kingdom illegally.

       By a judgment of June 9, 2004, the Brussels Court of Appeal confirmed the appellant's
       conviction to ten years imprisonment for various offences, including
       "the attempt to destroy the Belgian military base of Kleine-Brogel by means of an explosion,
       with the circumstance that the perpetrator must have assumed that one or more persons
       were present at the time of the explosion (...),
         exercised a command quelConque within an association formed with the aim of
       perpetrating crimes carrying the penalty of life imprisonment and, in this case, to carry out
       a terrorist attack (...),
       - received from a foreign organization funds intended to carry out in Belgium an activity
       likely to undermine the internal security of the State (...),
       - illegally held a weapon of war (...),
         created, assisted or participated in a private militia or any other organization of
       individuals whose purpose is to use force (...)".
       The appellant appealed to the Court of Cassation, which dismissed the appeal in a
       decision dated November 3, 2004 (No. P.04.1191.F).


       2.
       The primary sentence was completed on September 13, 2011. A second and third
       subsidiary sentence of imprisonment of six1 and three months, however, are imposed on the
       appellant in 2007 and directly executed so that he completes his sentences on June 23,
       2012.


       3.
       From June 24, 2012 until Oct. 3, 2013, the appellant was deprived of his liberty for the
       purpose of his surrender to the U.S. authorities, who requested and obtained his
       extradition, under the circumstances recounted below.

         On April 16, 2007, the Court of Appeal of Liège convicted him of death threats and assault against the
       director of the prison of Lantin, in a state of legal recidivism.



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       He files several motions for release, all of which are denied.


                 1.2.      International arrest warrant, exequatur and extradition proceedings
       4.
       A first indictment was handed down on April 29, 2005 by the District Court of Columbia
       grand jury, based on four counts that listed 21 "overt acts" or predicate facts, including
       "16) during or around July 2001, in Uccle, Brussels, Belgium, Nizar Trabelsi
       o rented an apartment,
       17) during or around the months of July and August 2001, in Belgium, /V/Zoë Trabelsi bought
       large quantities of chemical products, (...) in order to use them to make a 1000 kg bomb;
       18) During or around August 2021, /V/d'or Trabelsi traveled at night with other conspirators
       to explore the U.S. air base at Kleine Brogel, a facility used by the U.S. and the U.S.
       Department of the Air Force, in which U.S. citizens were located, as a target for a suicide
       bombing;
       19) during or around the beginning of September 2001, near Brussels, Belgium,
       /\//Trobelsi moved a large quantity of chemicals, (...), from his apartment to a restaurant run by a
       known conspirator of the
       Grand Jury, after police searched his apartment for a seemingly innocuous reason;
       20) on or about September 14, 2001, Nizar Trabelsi, having been arrested, falsely denied
       to the Belgian authorities that he knew the meaning of the list of chemicals listed in the
       soccer team's book or that he had intended to make or explode a bomb.


       A new indictment was drawn up on November 3, 2006, with four charges:
       -    criminal conspiracy to murder U.S. citizens outside the United States;
       -    criminal association and attempted use of weapons of mass destruction ;
       -    criminal association to provide material support and resources to a foreign terrorist
            organization;
       -    providing material support and resources to a foreign terrorist organization.



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       The general allegations are in substance that appellant was persuaded during 2000 to
       travel to Afghanistan, via Pakistan, and that he engaged in a conspiracy with others
       known and unknown to the Grand Jury for the purpose of destroying, by terrorist means,
       American persons, property, and interests, wherever located but outside the United
       States, in accordance with the operational mode of al-Qa'ida, which is to assign such
       missions to operational cells, by terrorist means, American persons, property and
       interests, wherever they may be, but outside the United States, in accordance with the
       operational mode of Al-Qaeda, which is to entrust such missions to operational cells on
       targets chosen by the leadership of A!-Qaeda leadership and changed according to
       circumstances.


       The indictment lists 28 "stated acts" as the primary factual elements on which the charges
       are based. The first 22 relate to the appellant's travel to Afghanistan, his contacts, his
       military training, and his modes of travel, until his return to Belgium. The "stated acts" 23
       through 26 are as follows:
       " 23. Around July 2001, in Uccle, Brussels, N/zoe Trabelsi rented an apartment;

       24. Around July and August 2001, in Belgium, Nizar Trabelsi purchased quantities of
       chemicals including acetone, sulfur, nitrate and glycerine to be used in the manufacture of
       a one-ton bomb;

       25. Around August in Belgium, Nizar Trabelsi went on a night scouting trip with other criminals to
       the Kleine Brogel military airbase - an infrastructure used by the United States and the United
       States Air Force Department where American citizens were present - as a target for a suicide
       bombing;

       26. Around the beginning of September 2001, on the outskirts of Brussels, Belgium, Nizar
       Trabelsi o moved and had moved quantities of chemicals, including acetone and sulfur from
       Trabelsi's apartment to a restaurant run by a criminal known to the Grand Jury after the
       police had visited the apartment for seemingly innocent purposes.


       5.
       On November 16, 2007, an international arrest warrant for the purpose of extradition
       was issued against the appellant by Mr. Alan Kay, US States Magistrate Judge, District Court
       for the District of Columbia (U.S.A.), pursuant to the Extradition Convention concluded
       between the Kingdom of Belgium and the United States of America on April 27, 1987; this
       warrant was based on the indictment of November 3, 2006.




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       6.
       On April 8, 2008, the U.S. authorities forwarded to the Belgian authorities a request for
       the extradition of the appellant, pursuant to the bilateral extradition agreement of April 27,
       1987 between the Kingdom of Belgium and the United States of America.
       This extradition request is motivated by reference to the indictment and is accompanied
       by an affidavit drawn up by an FBI agent in March 2008 which relates the facts and the
       evidence already collected linking the appellant to Al-Daeda and other members of this
       organization, such as Richard Reid, who is sentenced to life imprisonment in the USA.


       7.
       In a diplomatic note no. 38 of November 12, 2008, the U.S. authorities indicate that the
       extradition request is from the (federal) District of Columbia Court, that the purpose of
       the extradition is to prosecute the appellant in accordance with the ordinary criminal law
       of the United States of America, that he will therefore not be prosecuted in a special court,
       and that after his extradition, he will not be detained or incarcerated in a non-civilian
       prison.
       According to the excerpts of the criminal law (Title 18 of the United States Code, U.S.C.)
       transmitted by the U.S. authorities, the first two counts are punishable by indefinite or
       life imprisonment, or by both a fine and imprisonment.


       8.

       On June 4, 2008, the Federal Prosecutor filed a request with the Council Chamber of the
       Court of First Instance of Nivelles to enforce the arrest warrant issued on November 16,
       2007 against the appellant, except for the acts declared 23 to 26.

       By an order of November 19, 2008, the Council Chamber of the Court of First Instance of Nivelles
       granted the exequatur "except insofar as it refers to the 'overt acts' n°s 23, 24, 25 and 26 set
       out in paragraph 10 of the indictment and supposedly repeated in support of the three
       other counts" because "the examination of the documents attached to the arrest warrant
       issued for the purposes of extradition (....] reveals, for its part, that among the 'overt acts'
       that the American authorities detail in support of the first count of the indictment, there are
       several that correspond very precisely to the facts, committed on Belgian soil, which form
       the basis for the conviction (of the appellant) in Belgium.
       (. .. )
       Under the ne bis in idem principle, the extradition warrant issued on November 16, 2007,
       by the competent judicial authority of the United States of America cannot be used as a basis
       for the prosecution of the accused.


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       therefore be given effect insofar as it relates to the 'declared acts' Nos. 23, 24, 25, 26 set forth in
       paragraph 10 of count one and purported to be repeated in support of the other counts.


       9.
       On February 19, 2009, upon appeal by the appellant who totally contests the exequatur,
       the Indictment Division of the Brussels Court of Appeal confirms the order on the
       contrary opinion of the Federal Prosecutor who requires this time the exequatur for all the
       declared acts and this, by erroneously indicating in a supplementary indictment of February
       4, 2009 that the maximum sentences incurred by the appellant are 15 years and 10 years
       respectively, "which cannot be considered, with regard to the offences charged, as being of
       exceptional length", nor incompatible with article 3 of the ECHR Convention as
       interpreted by the ECHR Court. As will be seen below, the appellant faces life
       imprisonment for two of the four declared acts.
       The appellant appealed against the judgment; the appeal was rejected by a judgment of the
       Court of Cassation of June 24, 2009.

       The exequatur is therefore definitively granted to the international arrest warrant, with
       the exception of the acts declared 23 to 26.


       10.
       The extradition procedure then begins, requiring an opinion from the Indictment Division,
       which must examine, among other things, whether the proposed extradition complies with the
       Law of March 15, 1874 on extraditions, article 4, paragraph 2 of which states

             "Extradition may not be granted if there is a serious risk that the person, if extradited, would
             be subjected in the requesting State to a flagrant denial of justice, to torture or to
             inhuman and degrading treatment".

       The federal prosecutor then asked the U.S. authorities about the penalties that the
       appellant could face if convicted of the charges against him.
       In a diplomatic note on November 11, 2009, the U.S. Department of Justice responded that
       "for sentencing purposes, the court may take into account the seriousness of the facts, taking
       into account the loss of life or destruction of property," that "in this case Trabelsi has not
       succeeded in carrying out his plans to assassinate U.S. citizens and to use weapons of mass
       destruction. Therefore, the court could find that Trabelsi failed to carry out his plans in
       sentencing. The court may also invoke mitigating circumstances, such as the fact that the
       convicted person recognizes that he is responsible for his actions. The letter adds that in
       case of a life sentence, "Trabelsi can address to the President an appeal in grace or in

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       However, in the case of Trobelsi, this is a purely theoretical possibility. We are not aware of
       any case where a convicted terrorist has managed to obtain a presidential pardon or
       commutation of his sentence.



       11.
       On December 23, 2009, without waiting for t h e outcome of the extradition procedure, the
       appellant filed an application before the European Court of Human Rights in order to have the Court
       find that "the extradition procedure to which he is subject constitutes a violation of Articles 3, 6
       and 14 of the Convention, in particular because of the flagrant denial of justice, the acts of
       torture and inhuman and degrading treatment that he is at risk of undergoing in the United
       States of America and in Tunisia".



       12.
       The extradition procedure is nevertheless continuing.
       In a statement of claim dated February 4, 2010, the Federal Prosecutor's Office asked the
       Brussels Indictment Division to give a positive opinion on the extradition request, except for the
       declared facts that were excluded from the exequatur.
       The Federal Prosecutor's Office must acknowledge that, for the first two counts, the appellant
       faces a sentence of life imprisonment, contrary to what he had indicated to the Indictment
       Division during the exequatur proceedings (see no. 9).


       13.
       On June 10, 2010, the Indictment Division of Brussels, which is better informed of the actual
       sentences incurred by the appellant, cannot question the exequatur of the arrest warrant. It
       issues the following opinion regarding his extradition
             "Extradition cannot be granted:
             - On condition that the death penalty is not imposed on N. TRABELSI or, if this condition cannot
             be met by the United States, on condition that the death penalty is not carried out;
             - Provided that the life sentence may be commuted, even if the conviction is for terrorism.
             In the event of a request for re-extradition of TRABELSI to a third country, in particular
             to Tunisia, the United States shall seek the prior consent of the United States in the event that
             the request is denied,



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             N. TRABELSI having been handed over to them, they would be confronted in the future
             with an extradition request that Tunisia will have addressed to them in the meantime.
             If the US does not accept these conditions, extradition should be refused.


       14.
       However, the U.S. authorities confirmed in a new diplomatic note dated August 10, 2010, that if
       a life sentence is imposed on the appellant, it would only be possible for him to obtain a
       presidential pardon, pursuant to Article 2.H. of the U.S. Constitution, or a reduction of
       sentence if he provides substantial assistance in the prosecution of a third party or if he is in a
       serious humanitarian situation. The conditions set by the House of Impeachment will never be
       met.


       15.

       Nevertheless, on November 23, 2011, the Minister of Justice signs the ministerial decree
       granting the United States government the extradition of the appellant after the appellant has
       satisfied the Belgian justice system.

       With respect to the possible application of a life sentence, the Minister believes that

             Although since 2001 individuals have been sentenced to life without parole ... for
             terrorism or terrorism-related offenses, the substance of these cases cannot be
             compared to the Trabelsi case. All of the individuals sentenced in the United States to
             life without parole or early release were charged, prosecuted, and ultimately
             convicted for their involvement as participants in terrorist attacks that resulted in death
             and/or injury and significant property damage, such as the attacks on the U.S. embassies
             in Nairobi, Kenya, and Dar es Salaam, Tanzania, on August 7, 1998....

             These offences are clearly not comparable to those charged against the person claimed
             in terms of their significance and nature.

             In the above cases, people, sometimes in very large numbers, in addition to U.S.
             nationals, did suffer substantial physical and material damage. In contrast, the
             Claimant is being prosecuted for premeditating and preparing a terrorist attack that
             was not carried out. The person claimed did not succeed, with others, in causing human
             or even material damage.



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             It is doriC fTlCinifully plausible that the charged offenses would not allow for the imposition
             or imposition of the maximum sentence under the applicable U.S. penal code, namely, a
             non-compressible life sentence."

       As for the ne bis in idem principle, the Minister does not respect the exclusion of the acts
       declared 23 to 26 from the exequatur, on the grounds that the ne bis idem principle is
       not applicable but the principle of double jeopardy:

             "In contrast to the principle of ne bis in idem, the principle of double jeopardy set out
             in Article 5 of the Extradition Convention is limited to the same offences or to offences
             which are substantially the same. This concept excludes the (same) evidence, the (same)
             proof or the same material statement of facts which were, where applicable, used to
             prove the offences for which the person was previously prosecuted, convicted or
             acquitted. Insofar as these factual and/or evidentiary elements are identical or
             substantially identical, a second prosecution is prohibited (...)

             In other words, it is not the facts but the qualification of these facts, the offences, that
             must be identical.


       The appellant was served with this order on December 6, 2011.



       16.
       On the same day, the appellant applied to the European Court of Human Rights for an
       interim measure to suspend his extradition. By judgment of the same day, the suspension
       was ordered.
       On December 20, 2011, the Belgian State requests the lifting of this measure but by decision
       of January 12, 2012, the Court of Human Rights maintains it.
       On January 15, 2013, in response to a third request for lifting, the ECtHR decided to
       maintain the provisional measure, specifying that it was for the duration of the
       proceedings before it.
       In response to a fourth request by the Government to lift, the Court reiterates, by letter
       dated June 18, 2013, that the interim measure is maintained until the conclusion of the
       proceedings before it.
       On July 10, 2013, the ECtHR informed Tes parties that the examination of the case was
       adjourned to take into account the impending judgment of the Council of State (see
       below) and the judgment of the Grand Chamber in Vinter and Others v. United Kingdom.




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       When asked by the Government about the time frame for the case, the ECtHR informed it
       on 25 September 2013 that the examination of the case would take place in late October or
       early November 2013.


       17.
       In the meantime, on February 6, 2012, the appellant filed an annulment appeal against
       the ministerial extradition order before the Council of State. In particular, he alleges
       violation of Article 5 of the 1987 Bilateral Extradition Convention, Article 4 of Protocol
       No. 7 to the ECHR, and Article 14, §7, of the International Covenant on Civil and Political
       Rights, even taking into account the exclusion of "declared acts" 23 to 26.*
       The Council of State's rejection decision came on September 23, 2013. Comparing the charges
       for which Mr. TRABELSI was convicted in Belgium and the "declared acts" for which extradition
       was granted, the Council of State considered that all of the "declared acts had no territorial link
       with the Kingdom of Belgium and constituted a set of facts that served as elements of the four
       charges retained by the American authorities. He deduced that Mr. TRABELSI was being claimed
       for offenses for which he had not been found guilty, convicted or acquitted in Belgium and that
       the acts declared constituted elements that would be used by the American judicial authorities
       to establish whether or not Mr. TRABELSI was guilty of the four charges brought against him
       (judgment no. 224.770).
       However, in the list of declared acts that it takes into consideration, the State Council does
       not mention the declared acts n° 23 to 26 for which the exequatur was not granted,
       whereas the ministerial decree mentions them...


       18.
       On October 3, 2013, the Belgian government extradited the appellant to the United States
       and turned him over to U.S. authorities, who detained him at Rappahannock Prison in
       Stafford, Virginia.


       19.
       On February 6, 2014, the Belgian authorities received a request for judicial cooperation from
       the US Department of Justice.


       2 He criticizes the Belgian judges who granted the exequatur to the international arrest w a r r a n t for having
       considered that only the acts declared 23 to 26 are the basis for his conviction in Belgium and he argues that
       the investigation conducted in Belgium covered all the acts declared in the extradition request.



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       20.
       By judgment of 4 September 2014, the ECtHR ruled on the appeal lodged by the
       appellant in 2009, decided that the Belgian State had violated Articles 3 and 34 of the
       ECtHR and ordered the Belgian State to pay the appellant the sums of
       - 60.000€ (...) for moral damage suffered because of his extraditlon;
       - 30.000€(...) for costs and expenses".

       On the other hand, the Court rejected the complaints of violation of articles 6, §1, and 8
       of the ECHR and 4 of Protocol No. 7 (see below).


       21.
       In November 2018, the Belgian authorities submitted a revised assessment to the
       Committee of Ministers of the Council of Europe. The Committee of Ministers, which is
       responsible under Article 46 of the ECHR3 for supervising the execution of this judgment,
       adopted a resolution on 6 December 2018, according to which the Belgian State "has
       taken all measures that can be expected to avoid or reduce, as far as possible, the risk of
       an unconditional life sentence for the appellant, in view of the guarantees they have
       obtained from the American authorities and their commitment to intervene, at the appropriate
       time, on the issue of the sentence by an amicus curiae, and in view of the revised report
       in which the Belgian government describes the measures it has adopted to execute the
       Court's judgment and the guarantees it has obtained from the American authorities
              if the appellant is convicted of all or part of the charges, he could, directly before
       sentencing, either ask the judge to set aside the jury's verdict on all or part of the charges
       and enter an acquittal, or ask the court to order a new trial. An acquittal by the judge
       would extinguish the Government's ability to prosecute him on the relevant counts;
              as to the sentence itself, the Court can only impose a sentence for charges for
       which the appellant would be found guilty. The Court has the power to

         According to Article 46 of the ECHR "Binding force and execution of judgments
       " 1. The High Contracting Parties undertake to abide by the final judgments of the Court in disputes to which they
       are parties.
       2. The final judgment of the Court is transmitted to the Committee of Ministers which supervises its execution.
       3. (...)
       4. Where the Committee of Ministers considers that a High Contracting Party refuses to comply with a final
       judgment in a case to which it is a party, it may, after giving notice to that party and by decision
       by a two-thirds majority vote of the representatives entitled to sit on the Committee, refer to the Court the
       question of that Party's compliance with its obligation under paragraph 1.
       5. If the Court finds that there has been a violation of paragraph 1, it shall refer the case to the Committee of
       Ministers for consideration of the measures to be taken. If the Court finds that there has been no violation of
       paragraph 1, it shall refer the case to the Committee of Ministers, which shall decide to close its examination.


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       discretionary sentencing. This may result in the imposition of the maximum sentence, despite
       the absence of a request from the Attorney General, but it may also result in a sentence that
       is less than that provided for in the United States Sentencing Guidelines, which set out the
       calculation of sentences for different offences;
               the Belgian government has undertaken to make use, at the appropriate time, of
       its possibility to intervene as amicus curiae on the issue of the sentence during the trial which
       will begin in September 2019;
               In the event of Mr. Trabeli's conviction, there are many avenues of appeal
       available to him. Thus, the Court of Appeal may consider either that the jury was not in
       possession of all the evidence necessary to decide on the guilt, or that an error of law was
       committed: it would then send the case back to the first instance, to pronounce the acquittal
       or else for a new trial. Alternatively, upon appeal by the applicant, the Court may find
       that the sentence is unreasonable and remand the case to the trial court for imposition of
       a lesser sentence. If these appeals are denied, the petitioner may seek a review of the
       decision by other or more judges. The granting of such reviews is, however, at the
       discretion of the Court;
               the Supreme Court will be able to review the decisions of the Court of Appeals on
       legal issues (constitutional law or federal criminal procedure). Finally, an extraordinary
       remedy exists for all prisoners in custody for all federal offences.




        1.3.        The summary proceedings conducted before the Belgian courts by the appellant after his
                                                   extradition
       22.
       After his extradition to the United States, the appellant repeatedly brought summary
       proceedings before the Belgian courts, essentially in order not to be prosecuted in the
       United States, or at least not to be prosecuted and convicted there for the acts for which
       he was convicted in Belgium. He also seeks to obtain the absence of any international
       cooperation.
       This Court shall rule in summary proceedings, primo facie, on the apparent violation of the
       principles
       ne bis in idem, speciality of extradition and res judicata. Thus

               By a first judgment of August 8, 2019, the Court ordered the Belgian State to notify
       the American authorities of the said judgment, inviting them to take cognizance of the
       legal analysis contained in paragraphs 37 and following, according to which
                •     Article 5 of the Extradition C o n v e n t i o n refers to the identity of the fact and not
                      the identity of the qualification;



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                • the Belgian courts - order of the Nivelles Council Chamber of November 19,
                  2008, confirmed by the decision of the Indictment Chamber of the Brussels
                  Court of Appeal of February 19, 2009 - limited the exequatur given to the
                  American arrest warrant by granting it "except insofar as it concerns the 'Overt
                  Acts' n° 23, 24, 25 and 26 set out in paragraph 10 of the first charge and
                  supposedly repeated in support of the three other charges";
                • These decisions of the Belgian courts are res judicata and are binding on the
                  Belgian State;
                • the ministerial extradition order of November 23, 2011 could only validly grant
                  the extradition requested by the United States within the limits of the
                  exequatur given to the arrest warrant, i.e., for the four counts of the arrest
                  warrant, but without being able to refer to the "Overt Acts" Nos. 23, 24, 25,
                  and 26 set forth in paragraph 10 of Count 1 and supposedly repeated in support
                  of the other three counts;
               by a judgment of May 23, 2022, based on article 19, paragraph 3 of the Judicial
       Code, the court again enjoins the Belgian State to communicate this judgment, in which it
       is stated that the court notes firstly that
                • Mr. TRABELSI was extradited in violation of Article 3 of the ECHR and in violation of
                  a provisional measure ordered by the ECHR Court;
                • the Minister of Justice persistently disregards the Belgian Law of 1874 on
                  extradition and the res judicata effect of judicial decisions that are
                  nevertheless binding on him;
                • no reasonable and lawful justification is prima facie likely to justify such
                  violations and the exceptional situation in which they have placed Mr.
                  TRABELSI.



                                1.4.      Appeals filed in the USA against the indictment
       23.
       In the U.S. courts, the appellant filed several motions to dismiss the entire indictment. All of
       these motions were denied.

       On the other hand, the request of the Columbia State Attorney to withdraw charges C and D from
       the indictment is granted.

       The appellant is currently still being prosecuted on charges A and B for which he faces a life
       sentence.



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                                      I.S.      Relationship between the appellant and Ms. Berrou


       24.
       The appellant and Ms. Berrou had a relationship that will be clarified by the court in the
       Discussion.




                                       It.        CLAIMS CURRENTLY BEFORE THE COURT


       25.
       The procedural background is set out in the judgment of July 15, 2020, to which the
       court refers.
       It is recalled that by summons of October 3, 2018, the appellant requested the first judge
       (i) to order injunctive relief and to order the BELGIAN STATE to award him ex aequo et bono
       the following compensation:
       - Primarily, 75.000 € and, in the alternative, 23.000 € for the damage caused by the
           degrading detention in Belgium;
       - 72.000 € for the damage caused by the degrading detention in the United States;
       - 1€ provisional, on an amount not currently assessable, for the future holding in the United
           States ;
       - 1€ provisional, on an amount not currently assessable, in relation to the costs of medical
           expenses required by the applicant;
       - 1 provisional, on an amount not currently assessable, for the costs of expenses necessary
           to maintain the applicant's family relations,
           -1.500 € for the moral damage caused by the violation of the right to marriage and
           family life of the plaintiff.
       It also requested, before the law, in case its requests were not met, to order the Belgian
       State to produce documents on the basis of articles 735, 19 and 871 of the Judicial Code,
       namely:
       - any document in the possession of the Ministry of Justice, relating to the extradition of
           Mr. TRABELSI requested by the United States, that is to say, all the administrative file,
           with the exception of the prison file, existing in his regard for the period from
           September 2001 to March 2008;


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       - all the correspondence exchanged with the United States, and even the reports of
           meetings between agents of the two States, concerning the extradition of Mr.
           TRABELSI, for the period from September 2001 to March 2008,
       - the general inventory as well as the inventories of each box and each sub-folder of the
           criminal file that led to the conviction of Mr. TRABELSI, in order to demonstrate that
           the elements coming from other European countries, included in the "Discovery Status
           Order" of June 22, 2018, are issued from the international letters rogatory executed in
           the framework of the Belgian investigation;
       - all documents, exchanges of correspondence and all information concerning the
           organization of the extradition of Mr. TRABELSI which took pl ace on October 3

       - And this, under penalty of a fine of 500 € per day of delay, from the date of service of the
           judgment to intervene ".


       The Belgian State asked the first judge to
       "To declare itself without jurisdiction to hear the action of Mr. TRABELSI
       In the alternative, declare the Plaintiff's oCtlOFl inadmissible as time-barred, or in any event
       unfounded;
       To dismiss the applicant and to order him to pay the costs of the proceedings including
       the procedural indemnity which can be fixed at the basic procedural indemnity of EUR
       90.00.

       26.
       First Judge:
             -dismisses the objection to jurisdiction raised by the Belgian State and rules that the
             Tribunal may hear all the claims made by the appellant;

       - declares all the claims admissible, with the exception of claim 8, which seeks an order
           that the Belgian State pay the claimant compensation "as a principal sum, of
           75,000 and, in the alternative, €23,000 for the damage caused by the degrading
           detention in Belgium", its admissibility still having to be examined (statute of
           limitations) and orders the reopening of the proceedings so that the parties can
           enlighten the Tribunal more precisely on this request;

       - rules that the reopening of the proceedings also extends to claims 5, 6, 7, 11 and 13, i.e.
           those in which the appellant requests
           to enjoin the Belgian State to organize a monitoring of the health situation of Mr.
               TRABELSI, via the Belgian consular services in the United States and by sending a
               psychiatrist in order t o ensure the follow-up necessary by the situation of the


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                and any other specialist that Mr. TRABELSI may need;
            ►   to enjoin the Belgian State to request the authorizations of visit for the consular
                authorities and the doctors referred to above within eight days of the judgment,
                under penalty of a fine of 5.000 EUR per day of delay;
            ►   to enjoin at least the Belgian State to intervene, as far as it can, with the
                American administration, in order to preserve the physical and psychological
                integrity of the applicant; in this context, to duly draw the attention of the
                American authorities to the precarious state of health of the applicant, at the time
                of his extradition, to the recommendations formulated by the Belgian doctors
                concerning the need to alleviate the applicant's isolation, and to his needs in terms
                of psychological, medicinal, and medical follow-up ,
            ►   to order the BELGIAN STATE to pay one euro provisional for the costs of the
                medical expenses incurred by the appellant;
           ►    to order the BELGIAN STATE to pay compensation of 1,500 euros for the moral
                damage caused by the violation of the appellant's right to marriage and family life.

       - dismisses claims 1, 2, 4, 9, 10, 12 and 15 to 18 as unfounded, that is, the claims by
           which the appellant seeks
       ►   to  enjoin the BELGIAN STATE to cease any type of cooperation with the American
           authorities with a view to the judgment of the appellant, under penalty of a fine of 5,000
           euros per day from the date of service of the judgment to intervene, and to withdraw
           the authorization/prohibit all of its agents better identified in exhibits XV.2. and XV.3.
           from testifying in the United States ,
       ► to enjoin the BELGIAN STATE to inform the American authorities within two days of the
           service of the judgment to intervene that the proceedings against the appellant violate the
           principle of non bis in idem, under penalty of a fine of 5,000 euros per day of delay; to
       ► enjoin           à the BELGIAN BELGIAN STATE                to carry out all         the
                          steps       useful in order to allow/facilitate the return of the caller to
           Belgium;
       ► to order the BELGIAN STATE to pay compensation of 72,000 euros for the damage
           caused by his degrading detention in the United States;
       ► to order the BELGIAN STATE to pay a provisional euro, on an amount that cannot be
           evaluated at this time, for the future detention in the United States;
       ► to order the BELGIAN STATE to produce all documents, in the possession of the
           Ministry of Justice, relating to the extradition of Mr. TRABELSI requested by the United
           States, that is to say all the administrative files, with the exception of the prison file,
           existing with regard to him for the period running from September 2001 to March 2008;
           all the correspondence exchanged with the United States, and even the reports of
           meetings between agents of the two States, concerning the extradition of Mr.
           TRABELSI, for the period from September 2001 to March 2008; the general inventory
           as well as the inventories of each box and each sub-folder of the criminal file that led
           to the conviction of Mr. TRABELSI; and the documents relating to the extradition of Mr.
           TRABELSI.


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             TRABELSI, in order to demonstrate that the elements coming from other European
             countries, included in the "Discovery Status Order" of June 22, 2018, are derived
             from the international letters rogatory executed within the framework of the Belgian
             investigation; all documents, exchanges of correspondence as well as all information
             concerning the organization of the extradition of Mr. TRABELSI having taken place on
             October 3, 2013; and this, under penalty of a fine of 500 € per day of delay, as of the
             service of the judgment to intervene.

       Finally, the first judge ordered the Belgian State to notify a copy of the judgment
       through official channels to the competent American authorities, stating in the
       accompanying letter
             "According to the analysis that prevails in Belgian law, the extradition of Mr. TRABELSI does
             not allow him to be prosecuted in the United States for the facts set forth in the "Overt Acts"
             n° 23, 24, 25 and 26 set forth in paragraph 10 of Count 1 and allegedly repeated in
             support of the remaining counts [of the U.S. arrest warrant that is the basis for the
             extradition (Grand Jury Indictment of November 3, 2006, filed November 16, 2007 with the
             Clerk of the U.S, District Court for the District of Columbia)), namely the facts related to
             the attempted attack on the Kleine Brogel military base.
              Except for the words in italics and square brackets, This conclusion is the one
             contained in paragraph 41 of the August 8, 2019, judgment of the Brussels Court of
             Appeal, sitting in rëfërë, which was transmitted by the Belgian authorities to the U.S.
             Department of Justice on August 9, 2019.
             The French-speaking Court of First Instance of Brussels comes to the same conclusion
             for the reasons set out in the judgment on the merits annexed hereto (see in
             particular points 123 to 135 of that judgment);


       27.
       Following the court's July 15, 2020 ruling on the urgent and interim relief sought by
       appellant, the parties file new pleadings.
       In his final submissions, the appellant requests
       "As a principal,
              To enjoin the Belgian State to cease any type of cooperation with the American
       authorities for the prosecution and judgment of Mr. TRABELSI, under penalty of a fine of
       10,000 € per day from the date of service of the judgment to intervene, with a ceiling of
       500,000 €;
       Specifically:


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       o      refuse to grant authorization to execute any new request for international
       assistance in this case;
       o      prohibit members of the criminal justice system from assisting U.S. prosecutorial
       authorities, through formal or informal communications;
       o       withdraw the authorization granted to "its agents", in the context of the request for
       American international judicial assistance and enjoin all "its agents", better identified in
       Exhibit VI.d.4 (investigating judge, judicial police officers, etc.), to testify in the United States
       as agents of the Belgian State;
       At the very least, to enjoin t h e Belgian State to notify the judgment to be delivered to each of these
       persons, identified within the framework of international cooperation and called to testify in the
       United States, and to invite them to take due note of it, especially with regard to the paragraphs
       relating to the request for cessation of international cooperation, the violation of res judicata,
       t h e violation of the non bis in idem principle and the violation of the principle of speciality of
       extradition;

                To enjoin the Belgian State, represented in the present case by its Minister of Justice, the only
       representative of the Belgian State recognized in the international relations maintained by Belgium,
       to send a diplomatic note to the American authorities, within two days of the service of the
       judgment to intervene, indicating that t h e exequatur of the warrant of arrest of Mr. TRABELSI
       was refused for the "over acts" 23 to 26, on the basis of article 5 of the bilateral Convention of
       extrodition of April 27, 1987 between the kingdom of Belgium and the United States of America; that
       this limitation of extradition is an integral part of t h e Ministerial Extradition Order of November 23,
       2011; that Article 5 of the Bilateral Extradition Convention, concerning the principle of non bis in
       idem, refers to an "identity of fact" and not to an "identity of offence"; that consequently, it would
       be contrary to the principle of speciality, provided for in Article 15 of the Bilateral Extradition
       Convention, to prosecute Mr. TRABELSI for the
       The "over acts" 23 to 26, i.e. the facts relating to the attempted attack w i t h explosives on the
       military base of Kleine Brogel;

       To attach to the above-mentioned injunction a penalty of €10,000 per day of delay with a
       ceiling of €500,000;
       Prohibit the Belgian State from distancing itself, in any way, in its official communications, from
       what has become res judicata and is not contested by it within the framework of the present
       proceedings, whether by sending several successive diplomatic notes, by using quotation marks
       or by "informing" the United States of the introduction of an appeal in cassation, under penalty
       of a fine of 500,000 €;
               To enjoin t h e Belgian State to carry out all the useful steps in order to allow/facilitate
       the return of Mr. TRABELSI to Belgium (delivery of a laissez-passer, OFIiSOtlOFI of the return
       whatever the conditions imposed by the United States, financial coverage of the return, etc.) ,




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               In the meantime, or in the event that it is impossible to return Mr. TRABELSI to Belgium,
       the Belgian State should organize a monitoring of his health situation through the Belgian
       consular services in the United States and/or send a psychiatrist to ensure the follow-up
       necessary for the situation of the appellant and any other specialist that Mr. TRABELSI may
       require;
       To enjoin the Belgian State to request the authorizations of visit for the consular
       authorities and/or the doctors referred to above within eight days of the judgment to
       intervene, under penalty of a fine of 5.000 € per day of delay, with a ceiling of 500.000€,
       To enjoin at least the Belgian State to send an amicus curiae to the American authorities,
       relaying the concerns formulated by the Special Rapporteur on Torture and Other Cruel,
       Inhuman or Degrading Treatment or Punishment and the Special Rapporteur on the promotion
       and protection of human rights and fundamental freedoms while countering terrorism, duly
       drawing the attention of the American authorities to the precarious state of health of the
       appellant at the time of his extradition the evolution of his conditions of detention in Belgium, the
       exact conditions of his detention at the time of his extradition, the various reasons that justified
       the extension of his isolation in Belgium, the recommendations made by Belgian doctors
       concluding that it was necessary to reduce the isolation of the appellant, as well as the
       psychological, medicinal and medical follow-up that he was receiving at the time of his
       extradition

              Order the Belgian State to pay the Appellant the following compensation, assessed on a
              pro rata basis
       aequo and bono.
       o    For the arbitrary detention, 52.000 € and to condemn the Belgian State to
       compensatory interest from July fer 2012,
       In the alternative, €38,000 or, at the very least, €25,000 and order the Belgian State to pay
       compensatory interest from November 1, 2014 or February 1, 2017 respectively;
       In the infinitely alternative, € 25,000, as loss of chariCe to obtain his release and order the
       Belgian State to compensatory interest from November iron 2014 ;
       o       For the moral damage caused by the degrading detention in Belgium,
       As priCÎQal, 75.OOO C, and order the Belgian State to pay compensatory interest as of June 2007;
       In the alternative, 23.000 € and order the Belgian State to pay compensatory interest as of
       November 2011;
       o      103,500 for the damage caused by the degrading detention in the United States
       and order the Belgian State to pay compensatory interest from October 2013;
       o       1 € provisional, on an amount not currently assessable, for future detention
       in the United States,



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       o      1 € provisional, on an amount not currently assessable, in relation to the costs
       medical expenses incurred by the appellant;
       o       1 € provisional, on an amount not currently assessable, in relation to the permanent
       disability deriving from the arbitrary, inhuman and degrading detention of the appellant;
       o      1 provisional, on an amount not currently assessable, for the costs of expenses
       necessary to maintain the appellant's family relationships;
       o     1.500 € for the moral damage caused by the violation of the appellant's right to
       marriage and family life and order the Belgian State to pay compensatory interest from
       October 3, 2013;
             Order the Belgian State to pay interest on each of the amounts awarded by the
       judgment;
              Order the Belgian State to pay all costs and expenses of the proceedings, including
       the procedural indemnity (€12,000) for each of the proceedings.


       In the alternative,
       Before the law, on the basis of articles 19, 871, 877 and 1066 of the Judicial Code, order the
       Belgian State to, within fifteen days of the notification of the judgment to intervene,
              Produce all documents in the possession of the Ministry of Justice and the Federal
       Prosecutor's Office that are not in the possession of the appellant in the context of the judicial
       appeals that he has filed, relating to his extradition to the United States, for the period from
       September 2001 to mid-2008;
                       Produce exchanges with U.S. authorities between 2008 and 2013;
              Produce all the documents, exchanges of correspondence and all the information
       concerning the actual extradition of Mr. TRABELSI that took place on October 3, 2013;
             Produce all exchanges between the U.S. and Belgian authorities relating to this case,
       subsequent to the appellant's extradition;
               Produce all the international letters rogatory sent by the United States to Belgium in this
       case as well as their execution documents;
       And this, under penalty of a fine of 1.000 € per day of delay, from the fifteenth day
       following the notification of the judgment to intervene, with a ceiling of 50.000 € '.




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       28.

       The Belgian State asks the court to

                  to declare itself without jurisdiction to hear the action of Mr. TRABELSI;

                  in the alternative, declare Mr. TRABELSI's action inadmissible or in any event unfounded;

                  order Mr. TRABELSI to pay the costs.




                         III.     EXAMINATION OF THE REQUESTS MADE BY MR. TRABELSI


                                    III.1.    Grievances and damages invoked by the appellant
       29.
       Invoking articles 1382 et seq. of the Civil Code, the appellant considers that the Belgian
       State has committed several breaches with regard to him. The appellant formulates the
       following grievances:
               iors of his detention in Belgium, violation of articles 3, 8 and 12 of the ECHR, article 10
       of the International Covenant on Civil and Political Rights, articles 471bis and following of
       the Penal Code, the principle of legality before the adoption of the Law of Principles4 and
       4   Article 3 of the Convention
       ' No one shall be subjected to torture or to inhuman or degrading treatment or punishment."

       Article 8 of the Convention
       "Everyone has the right to respect for his private and family life, his home and his correspondence.
       2. There shall be no interference by a public authority with the exercise of this right except such as is in
       accordance with the law and is necessary in a democratic society in the interests of national security, public
       safety or the economic well-being of the country, for the prevention of disorder or crime, for the protection of
       health or morals or for the protection of
       rights and freedoms of others." .

       Article 10 of the International Covenant on Civil and Political Rights
       1.
       All persons deprived of their liberty are treated with humanity and with respect for the inherent dignity of the
       human person.
       2.
       a) Accused persons shall, except in exceptional circumstances, be separated from convicted persons and shall be
       subject to a separate regime, appropriate to their condition as unconvicted persons.
       b)
       The accused youths are separated from the adults and their case is decided as quickly as possible.


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       Finally, violation of Article 5 of the Convention EDH for arbitrary detention from June 2012
       with a view to his extradition;
                artificial constitution of the American extradition request by agents of the Belgian
       State and abnormal treatment of this request by actions exceeding the framework of the
       Convention between the Kingdom of Belgium and the United States concerning mutual
       assistance in criminal matters, such as the provision of the Belgian criminal file, the
       assistance of the Public Prosecutor's Office in the preparation of the extradition request
       and the assistance of the Belgian authorities in the preparation of the request. the request
       by actions exceeding the framework of the Convention between the Kingdom of Belgium
       and the United States concerning mutual legal assistance in criminal matters, such as the
       provision of the Belgian criminal file, the assistance of the federal prosecutor's office in
       the drafting of the indictment), These acts constituted, on the one hand, a coalition of
       officials or at least an abuse of authority and, on the other hand, a violation of the ne bis in
       idem principle by allowing the appellant to be prosecuted and convicted in the United States
       for the facts relating to the attempted attack on Kleine Brogel;
              deception by the Federal Prosecutor's Office during the judicial proceedings for
       the exequatur of the American indictment, resulting from the information given to the
       GCA as to the penalties incurred by the appellant in the event of conviction by the
       American courts;
              violation by the extradition order of Article 3 of the ECHR as found by the judgment
       of the ECHR Court of 14 September 2014;
              violation by the extradition order of article 3 of the ECHR for having authorized his
       extradition without carrying out a rigorous examination of the consequences of the
       return on the appellant's extremely precarious state of health, attributable to his
       conditions of detention in Belgium and while the Minister of Justice knew or should have
       known that the imposition of total isolation would cause the appellant serious mental or
       physical suffering;
               Violation by the extradition order of the principle of speciality in extradition, the
       principle of non bis idem as enshrined in Article 5 of the bilateral extradition agreement
       between the Kingdom of Belgium and the United States of America and the res judicata
       effect of the CMA judgment of February 19, 2009, the judgment of the Court of Cassation
       of June 24, 2009, and the judgment of the Council of State of September 23, 2013;
              violation by the Belgian authorities of Article 34 of the ECHR resulting from the
       surrender of the appellant to the American authorities, as found by the said judgment;
              Violation of the appellant's right to a fair trial in the United States resulting from
       the refusal of the Belgian authorities to answer the questions asked by the defense and to
       give him access to certain documents useful to the appellant's defense;




       J. The penitentiary system includes treatment of convicts whose main purpose is their reformation and social
       rehabilitation. Young offenders are separated from adults and subjected to a regime appropriate to their age
       and legal status.


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       Articles 417bis et seq. of the Criminal Code make it a criminal offence to subject a person to torture, inhuman
       treatment and degrading treatment.


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              after the judgment of the European Court of Human Rights, the faulty abstention
       committed by the Belgian State, which failed to try to put the appellant back in a situation
       equivalent to the one he would have been in without the violations found by the European
       Court of Human Rights;
               repeated violation of the principles of non bis in idem, speciality, and res judicata,
       by diplomatic notes addressed by the Belgian State to the American authorities.


       The appellant also invokes
              the wrongfulness of the decision of the Brussels Chamber of Indictments of February
       19, 2009, which granted the exequatur to the international arrest warrant when the
       exequatur should have been totally refused, and of the decision of the Court of Cassation
       of June 24, 2009, which confirmed this decision;
              the September 23, 2013, ruling by the Council of State that wrongfully rejected I
       aDpelant's appeal for annulment of the extradition order;
               the erroneous information given by the Public Prosecutor's Office in its indictment of
       February 4, 2009 to the Brussels Indictment Division in charge of ruling on the exequatur
       of the international arrest warrant, on the penalties allegedly incurred by the appellant in case
       of extradition.


       30.
       The appellant attributes to one and/or the other of these breaches, the cause of the
       following damages
               to have remained in isolation in Belgium for twelve years, with the consequences
       of a serious deterioration of his physical and psychological health;
              having been deprived of the possibility of getting married because of incessant
       transfers between Belgian prisons;
                having been arbitrarily deprived of his liberty during the extradition procedure;
              be detained since October 2013 in the United States in inhumane and degrading
       conditions that degrade his physical and mental health, cause him obvious moral damage
       and deprive him of the possibility of maintaining his family relations,
               to suffer the stress of the risk of being sentenced again for the facts for which he
       has already been judged in Belgium, and moreover by an incompressible life sentence.
       The claims that he is making, on the basis of articles 1382 and following of the Civil Code, are
       intended to compensate for these prejudices.




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       III.2.    On the requests relating to the conditions of detention in Belgium prior to extradition and
                                  the detention undergone with a view to extradition
       31.
       The appellant is making two separate requests, related to his detention in
       Belgium.
              compensation for the moral damage wrongfully caused to him by the conditions of his
       detention in Belgium until his extradition; his main claim is for 75,000
       23,000 and compensatory interest from June 2007; in the alternative, €23,000 and
       compensatory interest from November 2011.
       In the alternative, if the Court does not consider itself sufficiently informed to allow the
       appellant's claims, it asks the Court to order the Belgian State to produce the complete
       administrative file relating to his detention between 2007 and 2013, and to order the
       reopening of the proceedings in relation to the points concerned;
               compensation for the arbitrary detention he believes he suffered from June 24, 2012
       until his extradition, he claims compensation of € 52,000 and interest
       compensatory payments as of July 1r 2012 and, in the alternative, €38,000 or, at the very
       least,
       25,000 with compensatory interest from November 2014 or February 2017 respectively; in
       the infinitely alternative, he claims compensation of €25,000, at the
       as loss of opportunity to obtain his release with compensatory interest from the date of
       1'F November 2014.

       The Belgian State argues that these claims are time-barred or at least unfounded.


                                            A.         On the exception of prescription
       32.
       Prescription is a defence to a late action; it does not begin to run until the day on which
       the action arises, which is, as a rule, the day on which the obligation must be performed.

       The Court of Cassation decides for reasons that the court adopts that
          "Pursuant to Article 100, paragraph 1 of the State Accounting Laws coordinated on July
          17, 1991, without prejudice to any other legal, regulatory or contractual provisions on
          the matter, all claims which, having to be filed in the manner established by law or
          regulation, have not been filed within five years from the first of January of the fiscal
          year in which they arose, are prescribed and definitively extinguished in favor of the
          State.
          If, in the case of an unlawful act of authority, the claim arises, in principle, at the time
          when the damage occurs or at the time when its future realization is reasonably
          established,

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           however, when the authority's misconduct continues, the aforementioned presCription
           period does not begin to run at the earliest until the first of January of the budget year in
           which the misconduct ceased (Cass.,February 2, 2017, C.15.0298.F, overturning a judgment
           of the Brussels Court of Appeal).


       This lesson, stated with respect to the requirement of section 100 of the Coordinated
       State Accounting Laws, is also relevant to the
       The five-year statute of limitations provided for in Article 2262bis, §1, paragraph 2, of the
       Civil Code, applicable to claims against the federal government since January 1, 2012,
       according to which "any action for damages shall be brought within the period of five
       years.
       compensation for damage based on extra-contractual liability shall be barred after five
       years from the day following that on which the injured party became aware of the damage
       or its aggravation and of the identity of the person liable".


       Continuous fault does not only mean continuous abstention from action; it can result
       from positive acts or decisions that have the effect of creating and maintaining an illegal
       situation; in this case, it is irrelevant, according to the Court, whether the situation in
       question results from a single decision or from successive decisions (see in this sense, in
       particular the judgment pronounced by this Court on January 30, 2020, in case
       2014/AR/2258).


       It follows from these considerations that, for the two disputed claims, the starting point of
       the statute of limitations was October 4, 2013, and that it ended on October 3, 2018, at
       midnight, the day of the citation.


       33.
       In citation, the appellant denounces the fact of having been kept in strict detention
       regime at least from November 11, 2011. He asks that the Belgian State be condemned
       to compensate him "for the inhuman and degrading treatment inflicted in Belgium due
       to his unjustified and disproportionate detention in a strict regime from November 11, 2011,
       or at least from the order issued by the Court of First Instance in 2012".

       In his pleadings before the first judge, he criticized more broadly his conditions of detention
       throughout the period of incarceration and set the compensation claimed at 75,000 euros
       as the principal claim and 23,000 euros as a subsidiary claim.

       Since the conditions of detention undergone by the appellant to serve his sentences are
       referred to in the summons, his claim on this count is not time-barred.



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       34.
       On the other hand, the second request made for the first time in the appellate level is time-
       barred. It is true that the appellant complains in the summons about his continued
       detention for the purposes of his extradition (according to him from June 12, 2012, and
       more likely from June 25, 2012), criticizing the rejection of his requests for release by the
       investigating courts, but he does not claim any compensation on this count.


       8.       On the violation of articles 3 of the Convention on Human Rights, 10 of the
                                    International Covenant on Civil and Political Rights and 417bis of
                                    the Penal Code
       35.
       According to Article 3 of the Convention
       "No one shall be subjected to torture or to inhuman or degrading treatment or punishment.



       Article 10 of the International Covenant on Civil and Political Rights states

       All persons deprived of their liberty are treated with humanity and with respect for the
       inherent dignity of the human person.

       (a) Accused persons shall, except in exceptional circumstances, be separated from convicted
       persons and shall be subject t o a separate regime, appropriate to their condition as unconvicted
       persons.
       b)
       The accused youth are separated from the adults and their case is decided as quickly as possible.
       possible.
       3. The penitentiary system includes the treatment of convicts, the main purpose of which
       is their reformation and social reclassification. Young offenders are separated from adults
       and subjected to a regime appropriate to their age and legal status.

       Articles 417bis et seq. of the Criminal Code make it a criminal offence to subject a person to
       torture, inhuman treatment and degrading treatment.


       36.
       The ECHR Court5 considers that the State must ensure that every prisoner is detained in
       conditions compatible with respect for human dignity, that the manner in which the
       measure is carried out does not subject the person concerned to distress or hardship of an
       intensity that exceeds the unavoidable level of suffering inherent in detention, and that,
       having regard to the practical requirements of imprisonment, the prisoner's health and well-
       being are assured

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       5   See the Court's report on Article 3 of the Convention, 2020 version, and cases cited.




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       adequately. The fact that the poor conditions suffered by the detainee were not
       attributable to an intention to humiliate or belittle him must be taken into account, but
       does not definitively rule out a finding of a violation of Article 3 of the Convention. Thus,
       the absence of evidence suggesting that the authorities acted with the intention of
       humiliating or demeaning the applicant cannot alter the finding that the applicant was
       subjected to an ordeal of such intensity that it exceeded the unavoidable level of suffering
       inherent in a deprivation of liberty and resulted in a violation of Article 3. The Court stressed
       that persons in police custody are fragile and that the authorities have a duty to protect
       them.


       37.
       Regarding the particular conditions of detention to which persons convicted of terrorism
       offenses may be subjected, the European Court of Human Rights (see the website of the
       European Court of Human Rights, Guide to the case law of the European Court of Human
       Rights - Rights of detainees) considers that
               Detention in a high-security prison, whether on remand or following a criminal
       conviction, is in itself an issue under article 3 of the Convention. Public policy considerations
       may lead States to establish high-security prisons for particular categories of prisoners, and
       in many States parties to the Convention, stricter security rules apply in respect of
       dangerous prisoners. Designed to prevent the risk of escape, aggression or disruption of the
       prison community, these regimes are based on segregation from the prison community
       accompanied by increased controls (Piechowicz v. Poland, 2012, § 161, and the references
       cited therein) ;
              where such regimes are in place, however, Article 3 of the Convention requires the
       State to ensure that any prisoner is detained in conditions consistent with respect for
       human dignity, that the manner in which the measure is carried out does not subject the
       person concerned to distress or hardship beyond the unavoidable level of suffering
       inherent in detention, and that, having regard to the practical requirements of
       imprisonment, the prisoner's health and well-being are adequately provided for (Ibid., §162)
       ;
               solitary confinement as such is not necessarily contrary to Article 3. Whether there
       has been a violation depends on the particular conditions of the measure, namely its
       severity, duration, I oDjective and effect on the person concerned (Rohde v. Denmark, 2005,
       § 93; Rzakhanov v. Azerbaijan, 2013, § 64). The prohibition of contact with other prisoners
       for reasons of security, discipline and protection does not in itself constitute a form of
       inhuman treatment or punishment (Ramirez Sanchez v. France [GC], 2006, § 123). On the
       other hand, complete sensory isolation combined with total social isolation can destroy the
       personality and constitutes a form of inhuman treatment which cannot be justified by the
       requirements of security or any other reason (!bidem, § 120);
               Furthermore, a stay in isolation, even if relative, must be justified by reasons


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       serious and accompanied by the necessary procedural guarantees (A.T. v. Estonia (no. 2),
       2018, § 73). Decisions to extend prolonged solitary confinement must be substantively
       reasoned in order to avoid any risk of arbitrariness, so as to make it possible to establish
       that the authorities have carried out an evolving review of the circumstances, situation
       and conduct of the detainee (Csüllög v. Hungary, 2011, § 31);
              Finally, the decision to place the prisoner in solitary confinement must take into
       account the state of health of the person concerned (Jeanty v. Belgium, 2020, § 117) and
       regular monitoring of the prisoner's physical and mental health, to ensure that it is
       compatible with continued solitary confinement, must also be established.


       38.
       The appellant states that he was subjected to an extra strict regime, placed in a cell 24 hours a
       day, without a view of the sky or natural light and in the absence of human contact, that he
       was detained in penitentiary establishments in Flanders where he only received documents
       in Dutch and that he was not able to break the fast during the Ramadan period in Hasselt
       prison and finally, that he underwent numerous transfers which prevented him from getting
       married in accordance with his right to a private and family life.


       39.
       In this case, the court has the following elements o f appreciation
                Maintaining that his prison regime in the Forest prison is taking place in inhuman and
       degrading conditions of detention, the appellant lodged a first procedure before the judge of the
       summary proceedings of Brussels by summons of January 28, 2002; at this time, he was placed
       u n d e r arrest warrant and was not yet definitively condemned. By an order of February 18,
       2002, the interim relief judge rejected the application, noting that "the applicant has not
       provided any prima facie evidence of the alleged inhuman and degrading treatment . . . . . . the
       applicant has not provided prima facie evidence that his right under article 3 of the European
       Convention on Human Rights has been violated, even if only in appearance. The application is
       therefore unfounded". According to this order, the appellant complains of the absence of
       contact, o f being deprived of daylight for five months, of being subjected to cell checks every
       ten minutes, of not being able to receive visits from the nurse, from a psychologist, of having CDs
       and the press. He also complained that he could no longer sleep. After having lodged an appeal,
       Mr. N. TRABELSI gave up this appeal in view of the improvement of his conditions of detention,
       as noted in a summary order of October 29, 2004;


               By summons of October 28, 2003, the appellant, who had just been transferred to
       the prison in St. Gilles, instituted new summary proceedings. By order of November 28, 2003,
       the


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       The interim relief judge appointed a medical expert and put the case on trial at the hearing of
       January 16, 2004. The Belgian State appealed this decision. At the hearing of May 13, 2004 of the
       Court of Appeal of Brussels, the parties declared that the request had become moot, the
       appellant having, in the meantime, been transferred to the prison of Nivelles, after a very brief
       stay in St-Gilles;


               the appellant remained in Nivelles prison until 16 July 2004. Following an incident (Mr.
       Trabelsi allegedly made threats to attack another inmate incarcerated in the same institution),
       the appellant was temporarily transferred to St. Gilles prison and then transferred to Lantin
       prison on August 9, 2004. He did not lodge any complaints during his incarceration in Nivelles;


                detained a t the Lantin prison, the appellant issued a new summons on August 24, 2004.
       A first order of October 29, 2004, appointed a medical expert to describe the appellant's state of
       health and to indicate the measures required to remedy any physical or psychological alterations
       that might be observed. After the expert's report, the summary judgment judge stated in an
       order of August 1" 2005 that the appellant was placed in the "U block", initially in a "stainless
       steel monobloc" cell and from September 1" 2004 in a "stainless steel monobloc" cell.
       "The appellant was subjected to a regime known as "extra solitary confinement" justified by
       security requirements, the legality of which was not contested, and that "the conditions of
       detention of Mr. Trabelsi appear, in view of the various elements in our possession, to be
       described as follows.
             He occupies a cell located in the U block of the Lantin prison; this cell measures
           approximately 12 m2; Mr. Trabelis has a bed, a table, shelves, a toilet and a sink
           There is a window, lined with an interior grill, allowing a view on the outside; this window
           gives however on an external court and the sight is cut by a building ëlevë SltUë with a few
           meters (6 or 7 m);
           - The U block is composed of about ten cells,' A great silence reigns there;
             Mr. Trabelsi has in his cell many books, leaflets, photos, papers, a radio and cassettes; he
           also has his own clothes; according to information provided by the Belgian State, he could
           also have a hot plate (but does not ask for it),
           - As regards the contacts that Mr. Trabelsi has with third parties, Mr. Trabelsi can write and
           receive mail (according to the guardian, he writes a lot, although Mr. Trabelsi told the expert
           that he has been tired of it for some time). However, Mr. Trabelsi told the expert that he has
           been tired of this for some time), he can make phone calls (in this regard, he was allocated an
           additional amount by the prison administration in order to be able to use this option), he has
           the right to receive visits from his relatives twice a week in the ordinary visiting room, visits
           from religious representatives, representatives of the Supervisory Board, as well as visits from
           his lawyers, the


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           judicial and other official services,.... In practice, however, he does not receive any visits from
           his family, but he does receive regular visits f r o m a prison visitor (for at least one hour), and
           he also maintains contact with one of the magistrates who has dealt with his case. Finally, he
           also maintains contact with the guards and he himself told the expert that the guards were
           kind and respectful, specifying that "several times a day, one o f them comes to talk with me...
           (The developments devoted in terms of conclusions by Mr. Trabelsi, "to the prison officers and
           the fact that they would be hostile to the "Islamists" seem, in view of these statements little
           understandable in addition to the fact that they do not appear to be demonstrated);
           - As far as his outings and occupations are concerned, he is allowed to go out every day, in
           the courtyard, twice for an hour; twice a week, he is also allowed to go for an hour in the
           large courtyard; he is always alone during these outings; however, it seems that Mr. Trabelsi
           does not go out much. The Belgian State also specifies that Mr. Trabelsi was recently offered
           paid work in the cell, but that he refused this proposal;
           - Mr. Trabelsi is checked every 30 minutes;
           - Mr. Trabelsi seems to be able to consult doctors, psychologists and social workers if
           necessary; he is therefore subject to medical monitoring and, in particular, had a knee
           operation at the beginning of 2005,
           Finally, it should be noted that this regime is subject to regular evaluations; That the Belgian
           State specifies that it is through these evaluations that it was proposed to Mr. Trabelsi to go
           once a week to the saddle of musculotion.


       This summary order further states that:
           "the expert6 found that the physical condition of Mr. Trabelsi was not altered by detention;
           That at the time of the expertise, he was not treated for any pathology; That since IONS, it
           appears from the elements in our possession that Mr. Trabelsi consulted the doctor of the
           prison for sleep disorders (disorders of which he had not complained to the expert); That it
           appears from the documents deposited by t h e Belgian State that a treatment w a s
           administered to Mr. Trabelsi for these disorders and that Mr. Trabelsi said he was appeased
           by the treatment; That in her certificate of 23.06.05, the psychiatrist of the prison specifies
           that Mr. Trabelsi said that he was appeased by the treatment; That in her certificate of
           23.06.05, Mr. Trabelsi said that he was appeased by the treatment. That in her certificate of
           23.06.05, the prison psychiatrist stated that Mr. Trabelsi "does not present any symptoms of
           thymic decompensation, nor major anxiety. (in view of this recent certificate, it does not seem
           appropriate to provide for a hearing of this psychiatrist or other staff members as requested,
           in the alternative by Mr. Trabelsi);
           Whereas, if the expert has indeed found a certain morosity in the head of M.

        The appellant does not file the report.


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           That, although the judge, who was in charge of the case of Mr. Trabelsi, stated that it
           was obvious that Mr. Trabelsi was suffering from both his fate and an incarceration
           whose modalities did not seem justified or fair to him, he considered that he could not
           conclude that Mr. Trabelsi was suffering from a depressive disorder; That he therefore
           CONCIUED that Mr. Trabelsi was not suffering from physical or psychological
           alterations related to the conditions of his incarceration ,
           That these conclusions do not appear contradictory with the body of the report;
           That the expert exposes, indeed, the reasons of the moroseness noticed chief' Mr.
           Trobelsi (incomprehension of the regime of isolation, disappointment in relation to the
           past life,...), reasons which certainly still occure the difficulties inherent to the deprivation
           of freedom;
           That the expert believes that it is clear that his isolation seems extremely heavy, the expert
           adding that he does not feel that Mr. Trabelsi is bluffing when he says he does not
           understand the reason for the extreme measures taken against him;
           That this lack of understanding is, according to the expert, likely to explain the state
           that Mr. Trabelsi presents, a state made of morosity, unanswered questions, suffering
           also related to the lack of contacts,...
           That the expert adds that Mr. Trabelsi is, without doubt, also disappointed in his
           failure, what he lost, ... ,
           That the expert concludes that if Mr. Trabelsi bears his fate badly and an incarceration
           whose modalities do not seem justified or fair to him, he cannot however consider that
           he presents a depressive disorder;
           That the conclusions of the expert do not appear, in view of these elements, to be in
           any way contradictory to the findings and developments made by the expert throughout
           his report.
       The appellant did not appeal this order and did not initiate any further proceedings until a
       summons on April 7, 2008.
             In April 2007, a psychiatrist who has been following the appellant for several years and
       met him in the U block of the EP of Lantin, wrote
           "Since he left the EP of Andenne, Mr. Trabelsi seems to have calmed down, to have
           found reference points that allow him to refocus on himself, his difficulties, his
           sufferings, his hopes, his projects; He seems to have taken the time to re-analyze a
           path that led him from soccer to Afghanistan and then to incarceration, and even if there
           are still some obscure areas, I felt that he was more in tune with himself (less divided
           and therefore less interpretative), more concerned about a future without tumult,
           without "glitter" (which his two "professions" and the media hype surrounding them
           have somehow conferred on him), based on the resumption of a "simple" family life
           where the quest would be above all that of the Other, of happiness and of shared
           human values.


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           Two significant events probably guided him in his choices. The death of a father whom he
           knew very little and in an ambivalent way and whom he had not ceased to seek through
           various emblematic figures and heroic (if not acceptable) acts. As if this death, beyond the
           quite understandable suffering that it generated, had allowed him to be born to himself,
           an adult. Secondly, the epistolary encounter with a middle-aged woman, already a mother,
           with whom bonds of affeCtion and tenderness are gradually forged. Note that the
           previous wives were younger.
           During this last interview, Mr. Trabelsi made very recent complaints: osthenia,
           concentration disorder and therefore memory retention, discouragement, feeling of
           impotence, clinophilia (going as far as neglecting to write to his Mother)... suggesting
           a depressive symptomatology that he had already presented in Andenne.
           More worrying although criticized are the visual (mice or shadows running on the floor) and
           auditory (voices, whispers) hallucinations (or illusions? because they are always hypnagogic)
           which probably indicate a long-lasting sensory semi-deprivation, especially since Mr Trabelsi
           is and remains fragile.
           Consequently, I think that it could be pejorative for him to be thus maintained in a
           strict special regime. On the other hand, and given the length of the latter, a sudden
           return to a normal regime would certainly be anxiety-provoking and a source of
           unnecessary excitement; I suppose that between the two it must be possible to imagine
           a regime that is gradually normalized through successive enlargements. In particular, I
           think that Mr. Trabelsi hopes to be allowed to receive visits from the one he already
           calls "his wife". Without knowing her, I can imagine that she would contribute to re-
           inserting Mr. Trabelsi into a more daily, more down-to-earth and, all in all, more
           "normal" reality than that of the prisons and, in particular, the one inside where his
           status as "Islamist-terrorist" kept him;


              At the end of 2007, the appellant was transferred to Nivelles prison, where he
       remained until the beginning of 2009. According to a summary order of April 30, 2008, the
       appellant was subjected to a special security measure in Nivelles as of December 21,
       2007, which was renewed on December 28, 2007, January 4, 2008, January 11, 2008,
       January 16, 2008 and March 12, 2008, but there is no evidence of any violation of article 3 of
       the ECHR;


              On March 12, 2008, Mr. H. MEURISSE took a decision to place him under a special
       individual security regime that was less strict than the previous ones. Nevertheless, on
       April 7, 2008, the appellant summoned the Belgian State before the interim relief judge,
       who noted in an order dated April 30, 2008 that
           • the caller receives medical follow-up,


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            • Visits are allowed in the ordinary visiting room behind the glass,
           •     he has numerous contacts with his lawyers, either through visits to the prison or
                 telephone conversations, at any time,

           •     He has the possibility to read books in his cell, to listen to music. He has a television and
                 takes correspondence courses,

           • he can exchange correspondence, subject to control by the Management, and can
             phone outside, to authorized numbers,
           • he has the possibility to participate in the common mini-football twice
       a week. The judge also noted that
           These measures will be relaxed on April 9, 2008, taking into account the reduction of the
           threat, the medical reports of Drs. PIETQUIN and MOREAU as well as certain wishes of
           Mr. N. TRABELSI which will be met, such as his wish to play sports and to meet his wife in
           an individual visiting room. Consequently, the Court concludes that Mr. N. TRABELSI
           cannot be considered as being detained in complete sensory isolation or in total social
           isolation. His isolation being, primo facie, partial and relative, it does not constitute an
           inhuman and degrading treatment with regard to article 3 of the European Convention
           on Human Rights;


              At the beginning of 2009, the appellant was transferred to Bruges, but he did not
       stay there because he was transferred again to Lantin in March 2009 and then to other
       prisons in the country. The appellant is kept in a special security regime;
                On July 7, 2009, a psychiatrist wrote to the management
           "I would like to give you my opinion concerning Mr. TRABELSI. This certificate is made
           at his request and with his agreement.
           Mr. TRABELSI is regularly followed up at my psychiatric consultation in the high security
           area of the prison of Lantin.
           At the request of Mr. TRABELSI, I would like to inform you of the difficult psychological
           situation caused by the confinement and isolation.
           Let me make the link and a continuation of the report made by Doctor De Rouck, the
           psychiatrist who followed and knew well Mr. TRABELSI during his stay in the prison of
           Andenne. Dr. De Rouck mentions in his report the progress made by Mr. TRABELSI in
           terms of his reintegration into a more adequate psychosocial and political reality. On
           the other hand, and as also noted in my colleague's report, the psycholOgical state
           linked to the conditions of isolation is in constant suffering and is progressively
           deteriorating. I did not observe psychotic symptoms during my interviews, but auditory
           and visual hallucinations as well as depressive signs have


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             was noted by DE De RoUCk. These depressive symptoms are present at present. Mr
             TRABELSI presents a sadness of the mood, anguishes, sleep disorders, appetite disorders,
             and at the time of our last interview, SUICIDARY IDEAS " ;
                On November 11, 2011, Dr. DE ROUCK concludes to a complex pathology,
       composed of a major depressive disorder of great intensity of a generalized anxiety disorder
       related in particular to the uncertainty hovering over all the decisions concerning him,
       and notes the impact of ten years of particular security regime namely the loss of temporo-
       spatial reference marks, social skills, circadian rhythms, tendencies to procrastination,
       difficulties of concentration, inadequate emotional reactions;


             on June 11, 2012 and December 5, 2012, psychiatrists from the prisons of Brugge
       and Hasselt where the appellant is located confirm the descriptions of Dr. DE ROUCK;


              on February 4, 2013, Dr. DAILLET believes that, given the appellant's health condition,
       there is a need to relax in the direction of less social isolation and this is urgent. The
       family meetings must be continued and extended, as far as possible;


              on June 7, 2013, the General Directorate of Prisons decides to relax the detention
       regime of the appellant and on July 24, 2013, Dr. DA!LLET finds that, following the
       transfer of the appellant to the prison of lttre, the regime is applied with measure and
       with respect for the person of the appellant ;


               however, on ieAugust 2013, the Director General of Prisons informs the Director of
       the lttre prison that it is necessary to place the appellant for a period of two months: from
       07.08.2013 until 05.10.2013 inclusive, under a special individual security regime more strict.


       40.
       It follows from these findings that, although the appellant was not completely segregated,
       he remained under the so-called "extra" regime that was practiced by the administration
       before the Principles Act came into force, and that from the entry into force of that Act he
       remained under a special security regime.


       41.
       In the absence of a psychiatric report for the period prior to April 2007 and


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       In view of (i) the detailed factual observations made in the interim order of 11 August 2005
       on the basis of a judicial expert's report, (ii) the fact that the appellant did not appeal
       against this decision, (iii) the fact that he also abandoned his appeal against the order of
       18 February 2002 due to the improvement of his detention conditions, (iv) the absence of
       any complaint during his imprisonment at Nivel!es, the appellant does not demonstrate that
       the conditions of detention were contrary to Article 3 of the ECHR for the entire period of
       incarceration.
       However
              further investigation of the case is warranted for the period of the appellant's
       incarceration at Forest Prison from January 2002 until his transfer to St. Gilles Prison,
       presumably in October 2003; decisions relating to the conditions of the appellant's
       detention during this period must be disclosed and filed with the accompanying
       administrative records;
               for the period from July 7, 2009 to July 24, 2013 and from August 7, 2013 to October 3,
       2013 it is necessary to examine whether, in accordance with Article 3 of the ECHR, the
       authority reasonably took into account the appellant's medical condition as described in the
       above-mentioned medical reports, when determining the particular security measures.
       Prior decisions and opinions must be produced and communicated.
              finally, for this same period, in view of the frequency of transfers from one prison
       to another, it is necessary to order the production of the decisions and administrative files
       from which these transfers result.


       42.
       The production and communication of these documents is the responsibility of the Belgian
       State, which alone has full access to them and justifies reopening the proceedings so that
       the parties can exchange their arguments on these documents.


                                              C.       On the absence of an e[fecti[
       43.
       It appears from the summary proceedings described above that the appellant falsely
       claims that "the remedies available to the appellant were not effective, rendered
       ineffective by his untimely transfers. It is apparent that the Courts and Tribunals did not
       rule on the inhumane and degrading nature of Appellant's continued confinement in
       segregation from June 2007 or, at the very least, from November 2011. The last time the
       appellant brought a case before a Judge, the Judge declared himself territorially incompetent,
       following a transfer, on January 5, 2010 (Exhibit X.8)."
       It is still wrong to complain of a violation of his right to an effective remedy resulting from an
       improvement in these conditions of detention by indicating that


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             "On April 30, 2008, the Judge of Referees declared Mr. Trabelsi's request unfounded
             because, two days after being cited in court, the respondent had relaxed the
             conditions of detention.
       This was the purpose of this procedure.




                     III.3.     On requests for injunctions relating to judicial cooperation


                                                A.     On the main application
       44.
       As a principal claim, the appellant asks the court to give the Belgian State the following
       injunctions
       Enjoin t h e Belgian State to cease any type of cooperation with the American authorities for the
       prosecution and trial of Mr. TRABELSI, under penalty of a fine of
       10.000 € per day from the date of service of the judgment to intervene, with a ceiling of 500.000


       More specifically:
                •    refuse to grant authorization to execute any new request for international assistance
                     in this case;

                •    prohibit members of the judicial police from assisting U.S. prosecuting authorities
                     through formal or informal communications;
                •    withdraw the authorization granted to "its agents", in the context of the request f o r
                     American international judicial assistance and enjoin all "its agents", better identified
                     in Exhibit VI.d.4 (investigating judge, judicial police officers, etc.), to go and testify in
                     the United States as agents of the Belgian State.
       In the alternative, I! requests

             "At the very least, to enjoin the Belgian State to notify the judgment to be delivered to
             each of these persons, identified within the framework of international cooperation
             and called to testify in the United States, and to invite them to take due note of it,
             especially with regard to the paragraphs relating to the request for cessation of
             international cooperation, the violation of res judicata, the violation of the principle of non
             bis ln idem, and the violation of the principle of speciality of extradition.




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       45.
       The appellant states in substance that by having lent and continuing to lend their judicial
       collaboration to the prosecutor in charge of prosecuting him in the United States of
       America, the Belgian judicial authorities continue to violate the principles of non bis idem
       and of speciality, and thus increase the risk for the appellant of being sentenced to a term
       of imprisonment for life, contrary to article 3 of the ECHR Convention
       According to the appellant, the Belgian judicial authorities are also guilty of violating the
       principle of equality of arms and the appellant's rights of defence, in that they are
       feeding the prosecution while refusing to allow the appellant's counsel to answer their
       questions and to give them access to the documents they are requesting.
       Thus, this judicial collaboration, already begun when the indictment was prepared and
       continued since his extradition, would violate the fundamental rights of the appellant as
       recognized, not only in domestic law, but also by jus cogens, whereas respect for these rights
       takes precedence over the respect due to the bilateral Convention on Mutual Legal
       Assistance concluded between the Kingdom of Belgium and the United States of America,
       as it would appear from article 53 of the Vienna Convention on the Law of Treaties of May
       23, 1969.


       46.
       By the inter!ocutory judgment of July 15, 2020, the court declared this request
       inadmissible. Contrary to what the Belgian State maintains, the court ruling on the merits is
       not bound by this decision, as the court ruled prima facie in response to a request for
       urgent and provisional measures, which cannot bind it on the merits.


       47.
       The bilateral convention on mutual legal assistance signed in Washington on January 28,
       1988 between the Kingdom of Belgium and the United States of America, which entered
       into force on January 1, 20007 , provides that
           A". 1st field of application
             1. The Contracting States shall, in accordance with the provisions of this Convention,
             afford one another mutual legal assistance in all matters relating to the investigation,
             prosecution and punishment of offences.

       7 Articles 4, 5, 6, 7, 8 and 9, §1, of this bilateral Convention were amended or supplemented by the Agreement
       between the European Union and the United States of America of June 25, 2003 (O.J., J.181/34, of July 19,
       2003). The bilateral instrument attached to this Agreement lists the substantive provisions of the Agreement
       that supplement the bilateral Convention, for offenses committed after the entry into force of the Agreement
       and for those committed before it (Article 12 of the Agreement) (see Senate, session 2008-2009, 4-1183/1
       Explanatory Memorandum on the bill assenting t o this Agreement). An Act of February 12, 2009, gives assent
       to the Agreement and the Instrument.


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             2. Mutual legal assistance applies to, among other things.
             a) the location or identification of persons;
             b) delivery of documents,
             c) disclosure of information and objects including documents, records and evidence;
             d) the hearing of witnesses and the production of documents;
             e) the execution of search and seizure requests,
             f) the transfer of detained persons for the purpose of being heard as witnesses or to
             other purposes;
             g) loco/isot/on, search, /'ITTObi//sot/on, seizure and confiscation of illicit gains,
             and to
             h) restitution of property to victims of crime.

             3. Unless otherwise provided in this Convention, assistance shall be afforded with respect
             to any offence punishable under the laws of the requesting State.

       Article ierf h "ta 4, provides
           "This Convention is concerned only with mutual legal assistance between the Contracting
           States. It does not confer any new rights on individuals with respect t o obtaining,
           withholding or excluding evidence, nor does it allow them to oppose the execution of a
           request.

             Article 13 Limits on mutual assistance
             1. The Central Authority of the requested State may refuse to process an application if.
             a) execution of the request would undermine the sovereignty, security or other essential
             public interests of the requested State;
             b) (...)
             c) (...)

             3. If a refusal is contemplated under this Article, it shall be preceded by consultation
             between the Central Authorities to determine the conditions, if any, under which mutual
             assistance may be provided.
             If the requesting State accepts mutual assistance under these conditions, it undertakes to respect
             them.
             (...) ".


       48.
       On the basis of the aforementioned article 13, the appellant considers that in this case,
       the preservation of the essential public interests of the State includes respect for the
       fundamental rights of the appellant resulting from the ECHR and jus cogens, which would
       oblige the Belgian State to terminate judicial cooperation in order to respect these
       fundamental rights.


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       However, Article 13 does not allow the Belgian State to unilaterally terminate the
       cooperation requested by the U.S. authorities; it organizes a consultation procedure from
       which the Belgian State could not evade without violating this treaty provision, which is
       binding on it and on the domestic courts.



       49.

       Finally, when a treaty violates jus cogens, the 1969 Vienna Convention on the Law of
       Treaties reserves to the signatory parties the possibility of requesting its annulment or
       suspension, but it does not give the domestic courts of a signatory party the power to
       refuse to apply it on the grounds that it violates jus cogens.


       The main application is inadmissible.


                                                        B. On the alternative claim
       50.
       The Appellant requests that the Belgian State be enjoined "to notify the judgment to be
       delivered to each of these persons, identified in the context of international cooperation and
       called to testify in the United States, inviting them to take due cognizance of the judgment,
       particularly with regard to the paragraphs relating to the request for termination of
       international cooperation, the violation of res judicata, the violation of the principle of non
       bis in idem and the violation of the principle of speciality of extradition".

       51.
       The Bilateral Convention on Judicial Cooperation does not constitute an obstacle to the
       admissibility of this request.
       Indeed, Article 4 "Appearance of Witnesses and Experts in the Requesting State" provides that
             1. If the requesting State considers the personal appearance of a witness or expert
             before its judicial authorities to be particularly necessary, it may so state in the request
             and the requested State shall invite the witness or expert to appear. The requested State shall
             immediately forward the response of the witness or expert to the requesting State.
             (...)
             3. A witness or expert who has failed to comply with a summons to appear, the surrender
             of which has been requested, shall not be subject to any penalty or measure of
             constraint in the requested State, even if the summons contains injunctions.


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       Witnesses who are requested by the U.S. authorities are not required to answer and appear,
       and the State cannot compel them to do so.
       The request is admissible.



       52.
       The respect owed by the Belgian State to the appellant for the ne bis idem principle
       justifies the injunction requested in the alternative.
       The ne bis in idem principle is recognized by the Belgian and American authorities i n Article 5 of
       the Extradition Convention concluded between the Kingdom of Belgium and the United States of
       America on April 27, 1987 in the following terms
             "Extradition shall not be granted if the person claimed has been convicted and sentenced
             or OCÇUittë in the requested State for the offence for which extradition is requested,
       The Court of Cassation issued two judgments, which are res judicata for the parties and
       the court.
       According to the decision of the Court of Cassation of June 24, 2009 (already cited under No. 9
       above):
             "In providing that extradition shall be refused when the request concerns an offence for which
             the person sought has already been tried in the requested State, article 5.1. of the Extradition
             Convention between the Kingdom of Belgium and the United States of America refers to the
             identity of the fact and not to the identity of the qualification" (judgment of June 24, 2009 on
             the exequatur of the international arrest warrant issued against the appellant).
       According to the judgment of the Court of Cassation of March 4, 2021, which rejects the appeal
       of t h e Belgian State against the summary judgment of August 8, 2019 by this Court (see above,
       no. 22), article 5.1. of the 1987 Extradition C o n v e n t i o n "refers to the identity of the fact and
       not to the identity of the qualification". Furthermore, the Court stated that
             "In the case of a person who is the subject of an extradition from the Kingdom of Belgium
             to the United States, it does not follow that this person has no apparent right against the
             Belgian State based on the general principle of non bis in idem law enshrined in Article
             5.1. of the Extradition Convention.


       53.
       The principle of speciality of extradition guaranteed by article 3 of the law of March 15, 1874
       on extraditions and article 15 of the aforementioned bilateral extradition convention of
       April 27, 1987 also justifies an injunction, in that according to this legal provision
             "Extradition shall be granted upon production of the warrant of arrest or any other act


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             with the same force, issued by the competent foreign authority, provided that these
             documents contain a precise indication of the fact for which they are issued and that
             they are rendered enforceable by the chamber of the court of first instance of the
             place of residence of the foreigner in Belgium or of the place where he can be found.
       And
             "(1) A person extradited under this Convention shall not be detained, tried or punished
             in the requesting State except .
             (a) for the offence for which extradition has been granted or for an offence otherwise
             qualified and based on the same facts for which extradition has been granted provided
             that such offence is an extraditable offence or a lesser offence included in the offence
             for which extradition has been granted,
       In this case, the judgment of the Brussels Chamber of Indictments of February 19, 2009,
       confirmed by the above-mentioned judgment of the Court of Cassation of June 24, 2009,
       which is also res judicata, does not grant exequatur for the facts for which the appellant was
       convicted in Belgium.


       54.
       The requested injunction is likely to ensure compliance with these two principles and
       with the res judicata effect of the above-mentioned judicial decisions.
       The Belgian State is therefore ordered to notify the present judgment to each of the
       persons who are or would be called to testify in the United States, inviting them to duly
       take cognizance of it, particularly with regard to the request for the cessation of
       international cooperation, the violation of res judicata, of the principle of son bis in idem
       and of the principle of speciality of extradition as soon as witnesses could be invited to
       appear before the American courts and be called upon to provide information relating to
       the facts excluded from the enforcement granted to the international arrest warrant.


       The penalty requested by the appellant is however not justified; indeed, on the one
       hand, the persons to whom the judgment must be notified are not identified by the
       appellant, nor is the time from which the penalty should be imposed, and on the other hand,
       in the event that the Belgian State does not comply, it will be possible for the appellant's
       counsel in the United States to communicate this judgment to the witnesses and experts
       who would be summoned to appear before the American courts.




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                                 III.4.     On the request to send a diplomatic note
       55.
       Still with a view to obtaining compliance with the principles of non bis idem, speciality and
       res judicata in the context of the proceedings currently being conducted against him, the
       appellant asks the court to order the Belgian State to
             • to send a diplomatic note to the American authorities, within two days of the service
               of the judgment to intervene, indicating that the exequatur of the arrest warrant
               of Mr. TRABELSI was refused for the "over acts" 23 to 26, on the basis of article 5
               of the bilateral Convention of extradition of April 27, 1987 between the Kingdom
               of Belgium and the United States of America ; that this limitation on extradition is an
               integral part of the Ministerial Extradition Order of November 23, 2011; that
               Article 5 of the Bilateral Extradition Convention, concerning the principle of non bis
               in idem, refers to an "identity of fact" and not to an "identity of offence"; that
               consequently, i! would be contrary to the principle of speciality, provided for in
               article 15 of the bilateral extradition convention, to prosecute Mr. TRABELSI for the
               "over acts" 23 to 26, i.e. the facts relating to the attempted attack using explosives
               on the military base of Kleine Brogel" and to attach to the above-mentioned injunction
               a penalty of 10,000 € per day of delay with a ceiling of 500,000 €;
             "to prohibit the Belgian State from distancing itself in any way, in its official
                communications, from what has become res judicata and is not contested by it in
                the context of the present proceedings, whether by sending several successive
                diplomatic notes, by using quotation marks or by "informing" the United States of
                the introduction of an appeal in cassation, under penalty of a fine of €500,000;


       56.
       As the Belgian State objects, this request is not admissible for lack of current interest.
       In fact, in number 22 of this judgment, the court has already recalled the two interim
       judgments in which it met this request and granted it to the extent permitted by the
       principle of the separation of powers.




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                  III.5.    On the claims relating to the appellant's detention in the United States.
       57.
       The appellant asks the court to enjoin the Belgian State to "take all useful steps in order to
       allow/facilitate his return to Belgium (issuance of a laissez-passer, organization of the return
       regardless of the conditions imposed by the United States, financial responsibility for the return,
       etc.)" and
       "In the meantime or in the event of iiTlÇOSSlbilitë of return, to enjoin the Belgian State :

             •   to organize a monitoring of the health situation of Mr. TRABELSI, via the Belgian
                 consular services in the United States and/or by sending a psychiatrist in order to
                 ensure the follow-up necessary by the situation of the caller and any other specialist
                 doctor whom it would appear that Mr. TRABELSI needs;
             •   to request the authorizations of visit for the consular authorities and/or the doctors
                 referred to above within eight days of the judgment to intervene, under penalty of a
                 fine of
                 5.000 € per day of delay, with a ceiling of 500.000€,''.
             •   to enjoin at least the Belgian State to send an omicus curiae to the American authorities,
                 relaying the concerns expressed by the Special Rapporteur on torture and other cruel,
                 inhuman or degrading treatment or punishment and the Special Rapporteur on the
                 promotion and protection of human rights and fundamental freedoms while countering
                 terrorism, by drawing the attention of the American authorities to the precarious state of
                 health of the appellant at the time of his extradition, t h e evolution of his conditions of
                 detention in Belgium, the exact conditions of his detention at the time of his extradition,
                 the various reasons that justified the extension of his prison confinement in Belgium, the
                 recommendations made by Belgian doctors concluding that it was necessary to reduce
                 the isolation of t h e appellant, as well as the psychological, medicinal and medical
                 follow-up that he was receiving at the time of his extradition.


       In addition, the appellant claims the following benefits
                 103.500,00 € for the damage caused by this degrading detention with compensatory
                 interest since October 2013 ;
                 1 € provisional on an indemnity not currently assessable for future detention in the
                 United States ;
                 1 € provisional for medical expenses required by his state of health;
                 1 € provisional in relation to the permanent incapacity resulting from its conditions of
                 detention;
                 1 € provisional for the expenses necessary to maintain its family relations;



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                1.500, 00 € for the damage caused by the violation of his right to marriage and family
                life with compensatory interest since October 3, 2013.


       58.
       The appellant seeks these injunctions and indemnities on the basis of Articles 1382 et seq. of
       the Civil Code in order to obtain compensation for damages which he attributes to the
       following faults (in chronological order)
                artificial constitution of the American extradition request by agents of the Belgian
       State and abnormal treatment of this request by actions exceeding the framework of the
       Convention between the Kingdom of Belgium and the United States concerning mutual
       assistance in criminal matters, such as the provision of the Belgian criminal file, the
       assistance of the Public Prosecutor's Office in the preparation of the extradition request
       and the assistance of the Belgian authorities in the preparation of the request. the request
       by actions exceeding the framework of the Convention between the Kingdom of Belgium
       and the United States concerning mutual legal assistance in criminal matters, such as the
       provision of the Belgian criminal file, the assistance of the federal prosecutor's office in
       the drafting of the indictment), These acts constituted, on the one hand, a coalition of
       officials or at least an abuse of authority and, on the other hand, a violation of the ne bis in
       idem principle by allowing the appellant to be prosecuted and convicted in the United States
       for the facts relating to the attempted attack on Kleine Brogel;
               deception by the federal prosecutor's office during the judicial proceedings for the
       exequatur of the American indictment, on the penalties incurred by the appellant in the event of
       conviction by the American courts;
              violation by the extradition order of Article 3 of the ECHR as found by the judgment
       of the ECHR Court of 14 September 2014,
               violation by the extradition order of article 3 of the ECHR for having authorized
       the extradition of the appellant without carrying out a rigorous examination of the
       consequences of the removal on the extremely precarious state of health of the
       appellant, attributable to his conditions of detention in Belgium and when the Minister
       of Justice knew or should have known that the imposition of total isolation would cause
       the appellant serious mental or physical suffering;
              violation by the extradition order of the principle of speciality in matters of
       extradition, of the principle of non bis idem and of the res judicata effect of judicial
       decisions ;
             Violation by the Delge authorities of Article 34 of the ECHR Convention due to the
       surrender of the appellant to the US authorities, as found by the ECHR judgment;
             after the judgment of the European Court of Human Rights, the Belgian State's
       wrongful abstention from trying to put the appellant back in a situation equivalent to the
       one he would have been in without the violations found by the European Court of
       Human Rights;
                violation of the principles of non bis in idem, speciality, and res judicata by diplomatic


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       notes sent by the Belgian State to the American authorities.



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                 A.        Fault resulting from the violation of the suspension measure ordered by the
                           ECtHR and causal link with the alleged damage


       59.
       As a rule, the executive branch commits a fault when it violates, by action or omission,
       hierarchically superior rules that impose an obligation to act or refrain from acting, when it
       cannot invoke an invincible error or some other cause of justification, or when it
       disregards the "general duty of care" imposed on all persons by virtue of articles 1382 and
       1383 of the Civil Code. Violation of a higher norm of an international treaty is only
       wrongful if that norm has direct effect in domestic law.


       60.
       In this case, the violation of the suspension measure ordered by the European Court of
       Human Rights and consequently of article 34 of the European Convention on Human
       Rights constitutes a fault on the part of the Belgian State.
       Insofar as necessary, your court specifies that it has the power of jurisdiction to
       To be aware that these violations were committed by the Belgian State while the appellant
       was under its jurisdiction within the meaning of article 1 of the ECHR.


       61.
       Article 34 of the ECHR states
             "The Court may be seized of an application by any person, non-governmental
             organization or group of individuals claiming to be the victim of a violation by one of the
             High Contracting Parties of the rights recognized in the Convention or its protocols. The
             High Contracting Parties undertake not to hinder by any means the effective exercise of
             this right" (emphasis added by the Court).
       In the judgment of September 14, 2014, the ECtHR recalls "the crucial importance and vital role
       of provisional measures in the Convention system", that it granted the appellant's request to stay
       the extradition on the same day as the notification of the ministerial extradition order; that it
       refused three times to give a positive response to the Belgian Government's requests to lift the
       provisional measure and specified, on several occasions, that the said measure was appropriate
       until the outcome of the proceedings before it.
       The Court considers that "the Government was therefore fully aware of the scope of the
       measure". However, it "deliberately and irreversibly lowered the level of protection of the
       rights enshrined in Article 3 of the Convention (....). At the very least, extradition has
       removed


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       the possible finding of a violation of the Convention, as the applicant has been removed to a
       country that is not a party to this instrument".
             " 150. The Court considers that none of the arguments put forward by the Belgian
             Government could justify non-compliance with the interim measure. It is true that the
             Government never concealed from the Court its embaFFOS ViS-Ô-Vis of the American
             authorities and its wish to see the provisional measure lifted. However, at no time did
             the Government indicate that it had taken any steps to explain the situation to the
             U.S. authorities (...). Moreover, given that the Court had examined all the elements put
             forward by the Government in order to convince it to stop the measure, including the
             diplomatic assurances provided by the American authorities, but had rejected them, it was
             not for the Belgian State, following the judgment handed down by the Council of State, to
             substitute its assessment of these assurances and of the merits of the application for
             that of the Court in order to decide to exceed the provisional measure indicated by the
             Court.
             "154 By deliberately not complying with the provisional measure indicated under article
             39 of its regulations, the respondent State failed to comply with its obligations under
             article 34 of the Convention.
       These grounds establish the violation by the Belgian State of a provision of international law
       with direct effect in the internal order which imposed a specific obligation on it.


       62.
       On the other hand, these reasons indicate that, according to the ECtHR, the Belgian State
       does not justify the violation of the suspension measure and the Court fully agrees with this
       assessment.
       Contrary to the Belgian State's contention, it has not been established that the
       precipitous and early surrender of the appellant to the U.S. authorities was justified by
       the dangerousness of the appellant on Belgian territory, or by a risk of evasion in the event
       of his release, or by a risk of escape or threat to public order and security after the Council of
       State's judgment of September 25, 2013, or by that judgment itself, or finally by the length
       of the appellant's extradition detention.
       Indeed, the
                       appellant's contacts within the prison were limited and monitored;


               there was no reason to fear his release. On the contrary, by an order of August 28,
       2013, the Nivelles Council Chamber had just rejected a request for release filed by the
       appellant, and this order had just been confirmed by a judgment of September 12, 2013
       of the Indictments Chamber deciding that the reasonable time limit had in no way been
       exceeded "since the Belgian State has done everything possible to extradite him as
       quickly as possible, if the appellant is currently still detained, it is only




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       because of the appeals he filed against the extradition decision, which is certainly his right but
       makes it inappropriate to invoke a delay attributable to him; finally, the applicant will be
       determined shortly on his fate since the case is set before the Council of State for pleadings on
       September 19, 2013 and since the European Court of Human Rights has undertaken to rule as
       soon as possible after the Council of State has rendered its judgment;


                the risk of escape is not established by any document submitted to the court;


               finally, the Belgian State could not legitimately believe that the decision of the
       Council of State authorized it to defy the suspension measure ordered by the Court of
       Human Rights. The sole effect of this judgment is to reject the appeal lodged by the
       appellant against the extradition order and not to annul the suspension measure in
       question. The Court also notes that in a letter dated June 26, 2013, the Minister of
       Justice informed the Court that the decision of the Council of State was expected shortly,
       adding
           "As for the proceedings pending before your Court, we take note of the fact that the
           provisional measure not to extradite the applicant to the States until the end of the
           proceedings before the Court (and not before the Council of State) has been maintained, and
           of the Court's stated intention to deal with the case as quickly as possible. The Government
           thanks you very much for this diligence.
          As mentioned above, the procedure before the Belgian Council of State should be
          completed shortly. In the event of a ruling rejecting the Council of State's request for
          annulment, there will no longer be a n y obstacle at the Belgian level to the extradition
          of the
          applicant. The Belgian Government assumes that the decision of your Court will be
          taken quickly after the decision of the Council of State.
       Now, by a letter from the ECtHR dated September 25, 2013, the parties are informed
       that the application is expected to be considered by the ECtHR at one of its next
       meetings in late October or early November 2013 ;


              It is true that on October 18, 2013, the Court informed the parties of the
       intention of the Chamber constituted to examine the case to relinquish jurisdiction in favor
       of the Grand Chamber, pursuant to Article 30 of the Convention, but by that date, the
       appellant had already been handed over to the American authorities, so that the
       intention of the Court could not have had any influence on this handover;


              the conflict between the obligations of the Belgian State under the European
       Convention on Human Rights and its obligations under the bilateral extradition agreement
       with the United States.


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       United States does not justify the surrender of the appellant with respect to his subjective rights.
       The risk that a State party to the ECHR might have to renounce an extradition because it
       would be judged contrary to the ECHR by the ECHR Court, does not constitute, with regard
       to the respect due to the subjective rights of the person concerned, a cause likely to justify
       the violation of his or her rights (i) to respect for a suspension measure ordered by this
       same Court, (ii) to the effectiveness of the appeal he or she has lodged, and (iii) not to be
       extradited if there is a proven risk of being subjected to inhuman and degrading treatment;


             It should be noted, however, that the claimed conflict has not been
       demonstrated. In fact, according to article 6.2. of the Bilateral Convention on Extradition
       between the Kingdom of Belgium and the United States of America of 27 April 1987

           "Humanitarian Clauses

           2. Notwithstanding the provisions of this Convention, the government of the requested
           State may not grant extradition for humanitarian reasons provided for by its national
           law.

       And according to article 2 bis of the law of 15 March 1874 on extraditions
           "Extradition cannot be granted if there is a serious risk that the person, if extradited,
           would be subjected in the requesting State to torture or inhuman and degrading
           treatment.


               In vain, the Belgian State claims that it could have legitimately believed that the
       diplomatic guarantees given by the American authorities eliminated the risk of the
       appellant being subjected to an incompressible sentence and therefore the risk of a
       violation of article 3 of the ECHR. As noted in the judgment of the ECHR Court of 14
       September 2014:
           • it appears from the provisions of the U.S. legislation (referred to in the diplomatic
             note of August 10, 2020 provided by the U.S. authorities) that they do not provide
             for the possibility of parole, mandatory or discretionary, and that a reduction of
             sentence may occur in the event of substantial cooperation of the appellant in the
             investigation of his case or in the prosecution of third parties, or in the presence of
             compelling humanitarian reasons. It also indicates that a prisoner may apply for
             commutation of his sentence or a presidential pardon, but this is done under very
             general and vague provisions that do not achieve the desired precision, while in
             this case the American authorities have at no time provided assurances that the
             appellant would escape a life sentence or that, if such a sentence were imposed, it
             would be accompanied by a reduction or commutation of the sentence
           •     "if the said provisions demonstrate the existence of a "chance for enlargement" -


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                even if there may be doubts about the reality of this chance in practice - none of the
                procedures provided for resembles a review mechanism requiring the national
                authorities to investigate, on the basis of objective and pre-established criteria of
                which the detainee would have been aware with certainty at the time of the imposition
                of the life sentence whether, during the course of the sentence, the person concerned
                has developed and progressed to such an extent that there is no legitimate penological
                reason for his continued detention";


              finally, even if this case law was not foreseeable at the time of the appellant's
       surrender, in view of previous judgments of the European Court of Human Rights on the
       notion of an incompressible sentence, the Belgian State could not, as a party bound by the
       European Convention on Human Rights and bound to respect it with regard to the
       appellant as long as he was under its jurisdiction substitute its assessment for that of the
       European Court of Human Rights on the value of the guarantees given by the American
       authorities with regard to article 3 of the ECHR, while an appeal was pending before the
       European Court of Human Rights.
       The Belgian State thus deliberately and consciously chose to give in to the insistence of the
       American authorities and to disregard its obligations towards the appellant, for which it
       must be held accountable as required by articles 1382 and following of the Civil Code.


       63.
       These legal provisions oblige the person who has committed a fault to repair the damage
       that would not have occurred, as it did, without this fault.
       If the Belgian State had complied with the injunction not to extradite the appellant before the
       judgment on the merits of the violations complained of by the appellant, the appellant
       would not have been extradited. Without the violation of this injunction, the appellant
       would not have been incarcerated or prosecuted for any act in the United States, and he
       would not be at risk of being convicted in the United States, by any sentence whatsoever.
       The causal link is therefore demonstrated between the illegal and wrongful surrender of the
       appellant to the U.S. authorities and the damages claimed.
       Consequently, it is not necessary to examine the other breaches invoked by the
       appellant, as such an examination is not likely to provide him with any further redress,
       especially since many of these grievances are inadmissible on the basis of the statute of
       limitations, given their age.




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                 8.    Absence of prescription and obstacle resulting from the judgment of the Court
                 of Human Rights and the resolution of the Committee of Ministers


       64.
       The liability action arising from the violation by the Minister of Justice and his agents of
       the provisional measure ordered by the EDH Court and of article 34 of this Convention is
       not time-barred. In fact, it was committed on October 3, 2013 and this remission is
       invoked in citation; the five-year statute of limitations governed by Article 2262bis,
       paragraph 2, of the Civil Code expired on October 3, 2018 at midnight, the day of the
       citation.


       65.
       Moreover, contrary to the Belgian State's objection, the just satisfaction granted by the
       Court of Human Rights and the resolution of the Committee of Ministers of the Council of
       Europe responsible for verifying the execution of the judgment of September 14, 2014 in
       accordance with Article 46 of the European Convention on Human Rights (cf. the Statement
       of Facts), do not constitute an obstacle to calling into question the Belgian State's civil
       liability for the violation of the suspension measure.
       For the reasons stated by the Court of Cassation in the judgment of October 1, 2021,
       C.20.0414.F/1, www. uroortaI.be, neither the equitable compensation awarded by the
       judgment of the Court EDH of September 104, 2014, nor the resolution of the Committee
       of Ministers affect the admissibility of the requests recalled above
             "Article 32, paragraph fer, of the Convention for the Protection of Human Rights and
             Fundamental Freedoms provides that the jurisdiction of the European Court of Human
             Rights shall extend to all questions concerning the interpretation and application of this
             Convention and its Protocols which are submitted to it under the conditions laid down in
             Articles 33, 34, 46 and 47.
             Under Article 46, § fer, of the Convention, the States Parties to the Convention
             undertake to abide by the final judgments of the Court in cases to which they are parties.
             In accordance with Article 41, if this Court finds that there has been a violation of the
             Convention or its Protocols, and if the domestic law of the State party to the dispute
             only imperfectly remedies the consequences of that violation, it shall, if appropriate,
             afford just satisfaction to the injured party.
             It follows from these provisions, on the one hand, that a judgment of the European
             Court of Human Rights which finds a violation of a provision of the Convention or its
             protocols obliges the State which is responsible for it to put an end to the violation and
             to erase its consequences so as to restore as far as possible the situation prior to the
             violation, on the other hand, that if the national law does not allow, or allows only
             imperfectly, to erase the consequences of the violation, the Court has the power to grant
             the injured party a remedy,


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           If applicable, the satisfaction that seems appropriate.
           The obligation of a Contracting State to comply with a judgment of the European Court of
           Human Rights finding a violation of a provision of the Convention or its Protocols is not to be
           confused with any obligations it may have under national law.
           The fact that this Court has given a judgment finding such a violation and awarding the
           injured party just satisfaction under Article 41 of the Convention does not prevent the
           national authorities of the Contracting State from awarding that party additional
           compensation which is not based on Articles 41 and 46 of the Convention but on provisions of
           domestic law which, such as Articles 1382 and 1383 of the former Civil Code, require full
           reparation for damage caused to another person by a fault of the State.


       As Advocate General Th. Werkin expressed it in his conclusions preceding the judgment
           "The procedure for seeking just satisfaction for damage suffered as a result of a State's
           violation of a provision of the Convention is a procedure independent of that provided for
           by a State's domestic law to enable the applicant to obtain full reparation for the
           damage suffered, based on Article 1382 of the Civil Code and which, relying on a very
           (and too) subjective assessment of the nature of that damage, grants a "partial" form of
           reparation; he just satisfaction granted by the Court does not therefore exclude the
           institution of proceedings before the national court to obtain full compensation for the
           damage suffered based on Article 1382 of the Civil Code because of the violation by a
           State of a provision of the Convention;
            - the res judicata effect of the Court's judgments is governed by its own rules based on
           various provisions of the Convention, principally Articles 32, 41 and 46, § fer; of course, the
           positive effect implies that a judgment in which the Court declares that an act of the
           respondent State does or does not constitute a breach of an obligation under the Convention,
           or decides whether or not just satisfaction should be awarded, must be regarded as being in
           accordance with the truth; the res judicata effect is only relative the judgment is binding only
           on the parties to the proceedings within the limits of what has been finally decided by it; if the
           negative effect is that such a judgment prevents the rehearing of a similar claim, it follows
           from the different purpose and conditions of application, o n t h e o n e h a n d , of a claim
           for just satisfaction and, on the other hand, of a claim for compensation for damage actually
           suffered, based on Article 1382 of the Civil Code, that the decision of the Court granting just
           satisfaction is not res judicata in relation to the national court seized o f a claim for
           compensation for the above-mentioned damage; Moreover, the Convention in no way
           prohibits the awarding by State bodies of compensation in addition to that granted by the
           Court by way of just satisfaction; it is incorrect to assert that, in ruling on Article 41 of the
           Convention, the Court has definitively settled the question of compensation for damage
           resulting from a violation o f a provision of the Convention or of the Convention itself.


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             In fact, one cannot validly oppose to such a request the authority of the res judicata of the
             decision rendered by the Court in the field of just satisfaction, since, on the one hand, the
             Court rules on the basis of article 41 of the Convention, and rules, moreover, in equity,
             without generally motivating its decision, and, on the other hand, the Belgian judge
             rules in the field of integral reparation on the basis of article 1382 of the Civil Code, at the
             end of a duly motivated reasoning;
               since both sets of proceedings seek, in accordance with their own rules of
             assessment, to make good the damage suffered as a result of a violation by a State of
             a provision of the Convention, the national court shall take into account, where
             appropriate, the amount awarded by the Court by way of just satisfaction, in order to fix
             the amount of damages it intends to award to make good the damage actually suffered.


       66.
       The compensation awarded by the European Court of Human Rights and the resolution of
       the Committee of Ministers constitute in this case all the less an obstacle to the full
       reparation required by articles 1382 et seq. of the Civil Code, since
               The compensation awarded by the European Court of Human Rights only
       compensates for the moral damage suffered by the appellant as a result of the violation of
       article 3 of the European Convention on Human Rights found by the court, namely the
       extradition of the appellant to the United States, where he faces a life sentence that cannot
       be reduced;
             the "guarantees" obtained by the Belgian State and judged sufficient by the
       Committee of Ministers do not in any way eliminate this risk, since, even if the life
       sentence will not in principle be requested by the Public Prosecutor's Office, it may be
       pronounced by the judge.
       However, the judgment of the ECHR Court of 14 September 2014 finds that the
       appellant's extradition is contrary to Article 3 of the ECHR on the grounds that
             • the appellant is subject to a "discretionary" life sentence in the sense that the judge
               may set a lesser sentence and decide to impose a fixed number of years;
             • it appears from the provisions of the American legislation (referred to in the
               diplomatic note of August 10, 2020 provided by the American authorities) that they
               do not provide for the possibility of conditional release, mandatory or discretionary,
               and that a reduction of the sentence may occur in case of substantial cooperation
               of the appellant in the investigation of his case or in the prosecution of third
               parties, or in the presence of compelling humanitarian reasons. It also indicates
               that a prisoner may apply for commutation or presidential pardon, but this is done
               under very general and vague provisions that do not achieve the required
               precision, while in this case, the American authorities have at no time given any
               assurance that the appellant would escape a life sentence or that, in the event of the
               imposition of such a sentence, the appellant would be able to continue to
               serve his sentence.



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                sentence, it would be accompanied by a reduction or commutation of the sentence
             • "if the said provisions show the existence of a "chance of enlargement", even if
               doubts may be raised as to the reality of this chance in practice - none of the
               procedures provided for are akin to a review mechanism obliging the national
               authorities to investigate on the basis of objective and established criteria of which
               the prisoner would have been aware with certainty at the time of the imposition of the
               life sentence, whether, during the course of the sentence, the person concerned has
               developed and progressed to such an extent that there are no legitimate penal
               grounds for his continued detention.
       Therefore, notwithstanding the guarantees obtained by the Belgian government from the
       American authorities, the Belgian State's violation of Article 3 of the European Convention
       on Human Rights is not remedied as required by the principles of civil liability, according to
       which reparation must be in full, in kind, or, if impossible or unreasonably onerous, by
       equivalent.


                                                 C.    Request for repatriation
       67.
       The appellant requests that the Belgian State be enjoined to take all necessary steps to
       allow/facilitate his return to Belgium by issuing a laissez-passer, organizing his return
       regardless of the conditions imposed by the United States, paying for his return, etc.
       Repatriation of the appellant is certainly the most appropriate measure to end his incarceration
       and prosecution in the United States.
       However, neither the above-mentioned bilateral extradition treaty, nor any other treaty,
       provides for the possibility for the Belgian State to demand from the American
       authorities the surrender of the appellant in order to make good the wrong committed.
       Moreover, the principle of the separation of powers does not authorize the Court to order the
       Belgian State to organize the return of the appellant "regardless of the conditions imposed
       by the United States". Indeed, the Belgian government cannot be deprived of its
       discretionary power to assess the conditions that might be required in return by the
       American authorities.


       68.
       On the other hand, the Belgian State may be ordered to send a diplomatic note to the American
       authorities requesting the return of the appellant and undertaking to negotiate with them the
       possible terms of his repatriation and, if they agree, to issue the appellant with all the
       documents required for his travel and entry into Belgian territory.


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        The first injunction is accompanied by a fine of €10,000.00 per day of delay if it is not complied
        with at the latest on the 3rd day following the notification of the present judgment, with a
        maximum of 100.000,00 €. The Belgian State will have to justify its submission to the
        the appellant.


                D.       Appellant's medical condition claims: compensation and injunction
        69.
        The request to order the Belgian State, pending the appellant's return or in the event
        that he is unable to return, to organize monitoring of his health situation via the Belgian
        consular services in the United States is not admissible or at least not well-founded, in the
        absence of a subjective right on the part of the appellant to request consular assistance.


        70.
        On the other hand, he has the subjective right to obtain compensation for the damage suffered.
        The file produced by the appellant contains several medical assessments of the appellant, the
        latest of which is dated March 2021; it is very detailed and is not the subject of any
        specific challenge by the Belgian State.


       This medical evaluation was performed by a physician with 35 years of patient care
       experience, board certified in internal medicine, which involves treating adult patients
       with acute and chronic medical problems and retained by the Office of the Federal Public
       Defender in Washington, DC, to provide a medical evaluation of the appellant, seeking
       her opinion on the nature of the appellant's multiple medical problems and whether they
       are being treated appropriately during his incarceration.

       It is reported as follows

              "To make this assessment, I reviewed the medical records in prison of Mr. Trabelsi that
              were provided to me by the federal defenders and that cover the last 4 years, from 2017 0
              2021.
              First, it is important to note that Mr. Trabelsi was kept in solitary confinement for the
              duration of his incarceration in the United States. For the first 5 years, he slept on a
              hard floor and there was a light on in his cell 24 hours a day. From the records I
              reviewed, it appears that he never went outside. Also, since his native language is not
              English, he was not able to communicate effectively with anyone except in a rudimentary
              manner.


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              I believe that this has led to serious mental health problems, often manifesting as
              physical problems, which have not been adequately addressed by the prison medical
              system. I will address these specific problems later in this letter.

              A report written by a human rights expert with the United Nations, Nils Mel2'er, in
              February 2020, noted that dëshumanizing conditions of confinement, sometimes
              euphemistically referred to as "segregation," "secure housing," "hole," or
              "confinement," are commonly used by amëFlCalns correctional facilities. Melzer noted
              that such practices can exacerbate psychological suffering, particularly among inmates
              who may have experienced prior trauma or suffer from mental health disorders or
              psychosocial disabilities.

              Melzer also stated that the serious and often irreparable psychological and physical
              consequences of solitary confinement and social exclusion are well documented and
              can range from progressively severe forms of anxiety, stress, and depression to cognitive
              impairment and suicidal tendencies.

              The Mandela Rules, updated in 2015, are a revised minimum standard of UN rules that
              define solitary confinement as "the confinement of prisoners for 22 hours or more per day
              without meaningful human contact." Solitary confinement can only be imposed in
              exceptional circumstances, and "prolonged" solitary confinement for more than 15
              consecutive days is considered a form of torture. As I have previously reported, Mr.
              Trabelsi has been in solitary confinement in the United States since October 2013,
              almost 8 years.

              Mr. Trabelsi has a number of medical problems that are exacerbated by stress. First, he has
              a chronic stomach ulcer and ongoing problems with abdominal and stomach pain. In
              the records I reviewed, he repeatedly tried to have his diet changed to foods that would not
              exacerbate his pain. Because of the language barrier, it was difficult to know what he was
              asking for. N o one in the prison system made the effort to have a translator speak to him in
              person in a language in which he could effectively communicate his medical needs and clarify his
              dietary needs and issues. Prison officials did try to make a change, but it was not what he
              asked for and both parties were dissatisfied with the communication.

              The response of the people in the prison to Mr. Trabelsi's requests for food that he
              could tolerate was to reprimand him for buying spicy food at the commissary. It has
              been repeatedly shown that spicy food does not cause ulcers and may even be beneficial,
              as the chemical that causes the ulcer is not present in the food.



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            Spicy taste decreases the production of acid in the stomach. I find it alarming that this type
            of information was offered to a patient instead of real medical treatment.

            In addition, the mind-body connection between the brain and the gut is now well established.
            It is not at all surprising that a person in isolation would have stomach problems. Mr. Trabelsi
            received no evaluation, care, or treatment from a gastroenterologist between 2016 and
            2018. When he saw a gastroenterologist and eventually underwent an endoscopy around
            August 2018, biopsies were performed and a follow-up appointment was required within
            three months. The endoscopy showed gastritis and
            irregularity at the junction o f the esopfioge and the stomach. I could not find any pathology
            findings in the records I reviewed. When he was transferred to another
            Established in September 2018, there was no evidence that anyone examined his pathology
            to see if there was a treatable cause for his pain. He saw a gastroenterologist again in May
            2019, but the biopsy was inconclusive.

            The results were not mentioned and the suggestions were to continue the medication
            he was already taking.

            Mr. Trabelsi also reported frequent headaches. He indicated that these were exacerbated by
            having a bright light on 24 hours a day and that he was therefore unable to sleep. We know
            how important sleep is to IO SOfite'. The solution to this problem seemed obvious to me, but
            n o one has ever turned off the light or put in a dim bulb at night. A CT scan was finally done,
            which showed no explanation f o r his headaches. A CT scan is neither necessary nor
            sufficient to diagnose persistent headaches caused by lack of sleep. Effective communication
            with the patient would have revealed a clear and remediable diagnosis.

            Mr. Trabelsi is also obese and has pre-diabetes. His current body mass index ("BMI") is 32.
            Obesity and diabetes can lead to many complications, including heart attacks and strokes.
            Lifestyle changes, such as diet and exercise, would improve and treat these conditions. In
            fact, the standard of care would be to prescribe diet and exercise changes. Mr. Trabelsi has
            not had the opportunity to exercise in almost 8 years. And he has no ability to control his diet.

            A list of 15 of Mr. Trabelsi's blood pressure readings between March 2019 and February
            2021 showed that 10 were above normal (120/80) and 5 above 150/90. These are levels
            that should raise concern. No medical professionals have commented on these elevated
            readings. A recent medication list indicates that he is now taking a blood pressure
            medication. However, high blood pressure is a problem that should first be treated with
            lifestyle modifications similar to those used for pre-diabetes and obesity ci-



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            on it. Without lifestyle changes, all of these problems are likely to get worse. And like
            obesity and pre-diabetes, high blood pressure can also lead to vascular disease, which
            can result in a heart attack or stroke.

            In October 2020, Mr. Trabelsi had an alarmingly low vitamin D level. In fact, this is the
            lowest vitamin D level I have seen in my 35 years of practicing medicine. However,
            other than a multivitamin, which normally coFlt a small amount of vitamin D, this
            deficiency has not been adequately treated. Symptoms of vitamin D deficiency can
            include fatigue, muscle weakness, pain and depression. This deficiency is extremely easy
            to treat. It is not known how long he has been taking multivitamins, but it does not appear
            that his vitamin D levels have been retested. He needs a high dose of vitamin D, most
            likely for a few months, THEN a daily supplement of a replacement dose. He also needs
            follow-up blood work in the lab.

            Mental health staff at the prison appear to attempt to conduct weekly assessments of
            Mr. Trabelsi, and report that he often refuses. Staff generally report that his mental
            health is "within normal limits." However, in October 2020, after an in-person court
            hearing, Mr. Trabelsi had a documented panic attack. In March 2019, Mr. Trabelsi
            stated that he would not speak to the mental health officer Without an in-person
            translator in a language in which he can effectively communicate his mental health
            needs. No in-person translator was offered or used for medical or mental health care or
            treatment. Years of isolation have most likely left him with severe psychological
            problems, but there appears to have been no real attempt to try to find a human
            being he could trust to speak to him in French. I fear that his withdrawal and
            unwillingness to be seen is evidence of severe mental distress rather than complete
            mental health, as indicated on the forms.

            In March 2021, Mr. Trabelsi was noted to have worsening swelling of the) "ambe. He was
            given compression stockings and a diuretic w a s added, apparently in addition to the one he
            was already taking for his blood pressure. The differential diagnosis of leg swelling includes
            heart disease, low blood protein, and venous stasis (weakened veins that leak fluid into the
            soft tissue of the lower extremities). The etiology of this problem has not been
            addressed. Diabetes, hypertension and obesity can lead to heart disease. No attempt was
            made to make a true diagnosis. A medical professional requested specific blood work
            due to her pain and swelling in her lower leg in November 2018, but it appears that no
            blood work was done until October 2020. As of December 2020, no diagnosis had been
            made. Diagnosing the etiology of leg swelling is not difficult, and once a diagnosis is made,
            the



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             Underlying medial problem, rather than the simple symptom of leg swelling,
             can be treated.

             At present, Mr. Trabelsi has the following medical problems.
             1. Gastroesophageal reflux.
             2. Abdominal pain with occasional vomiting of blood. 3.pre-
             diabetes
             4.obesity 5.high blood
             pressure
             6. Edema (swelling) of the lower limbs
             7. Depression, social anxiety, paranoia
             8. Vitamin D deficiency
             9. Headaches

             His medications are as follows:
             1. Triamterene/Hydrochlorothiazide 37.5/25 daily
             2. Multivitamin 1 per day 3.Flonase
             nasal inhaler per day 4.Loratadine
             10 mg per day
             5. Omeprazole 40mg twice a day
             6. Furosemide 20 mg per day

             None of these problems, with the possible exception of high blood pressure, are effectively
             treated, or even diagnosed and monitored in a manner consistent with the standard of care.
             Some, such as his mental illness and vitamin D deficiency, are mostly ignored. His isolation,
             inability to interact w i t h other human beings, lack of sunlight and exercise, and constant
             artificial light that prevents him from sleeping normally combine to affect his mind and body in
             severely detrimental ways. As the months and years go by, it seems almost certain that his
             mental and physical condition will continue to deteriorate.
             I declare, on this 26th day of March 2021, under penalty of perjury, that the foregoing is true
             and correct, in accordance with 28 U.S. Code, Section 1746.


       71.
       The appellant claims a lump sum compensation of 103.500,00 € according to an ex aequo et
       bono evaluation on which he does not explain himself.
       In view of the physical and mental disorders suffered by the appellant since his
       incarceration in the United States as described above, the court considers justified a
       lump-sum compensation ex aequo et bono of 10.000,00 € per year of detention in the
       United States, that is to say to date 10.000 x 9
       + (10.000 : 12x10) , i.e. 98.333,00 € plus compensatory interest at the legal rate from the
       average date of October 2017 until the date of the present judgment and interest


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           judicial then.


           72.
           Pending specific assessments of the appellant's medical conditions, compensation for
                      1 € provisional on an indemnity not currently assessable for future detention in the United
           States ;
                      1 € provisional for medical expenses required by his state of health;
                  1 € provisional in relation to the permanent disability resulting from his conditions of
           detention.


           73.
           Finally, in order for the appellant to benefit from adequate medical care, the Court
           enjoins the Belgian State to request from the American authorities the possibility for the
           appellant to receive visits and medical care from doctors chosen by him and to justify this
           request to the appellant's counsel within thirty days of the service of the present
           judgment, under penalty of a fine of €10,000.00 per day of delay, with a maximum of
           €100,000.00.


             E.        Claims for Violation of the Right to Marry and Maintain Family Relationships
           74.
           The appellant seeks €1 provisional for the costs necessary to maintain his family
           relations and compensation of €1,500, 00 for the damage caused by the violation of his
           right to marriage and family life with compensatory interest since October 3, 2013.


           75.
           The appellant demonstrates that he took the necessary steps on several occasions to
           marry Ms. BERROU and it is established that his surrender to the American authorities
           prevented him from contracting the marriage which was scheduled a few days later.
           This remission being illegal and wrongful, it justifies the granting of the lump-sum
           compensation claimed on this count by the appellant, the requested amount of €1,500.00
           being likely to adequately compensate for the moral damage suffered. The
           compensatory interest claimed since October 3, 2013 is also justified to compensate the
           loss resulting from the time elapsed between the occurrence of this damage and its repair.


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        76.
        On the other hand, the request by which the appellant asks the Belgian State to pay a provisional €1
        for the costs necessary to maintain family relations with this or any other person is not justified.
       Indeed, there is no evidence before the Court that the relationship with Ms. Berrou continued
       beyond the end of 2015. Indeed, from January 2016, there is no trace of material assistance provided
       by Ms. Berrou to the appellant (using her own funds or sums collected from third parties, given
       the low income of Ms. Berrou with five dependent children) while, from November 2013 until that
       date, Ms. Berrou's bank account is used to send checks made out to the appellant. Furthermore,
       there are no letters, certificates, or evidence of telephone contact between the parties that
       demonstrate a continuing relationship between them since January 2016. Finally, Appellant proves
       no other familial relationship with any other person.




       On these
       grounds, the
       Court,


       Ruling contradictorily,


       Having regard to the law of June 15, 1935 on the use of languages in judicial matters,



       Reversing the judgment and ruling by way of new provisions,


       Finds that the appellant's claim for compensation for the conditions of his detention in
       Belgium is admissible,


       Declares that the appellant's claim for compensation for arbitrary detention for the purpose of
       his extradition is time-barred,


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          Orders the Belgian State to provide and produce the decisions regarding the appellant's
          conditions of confinement for the periods of January 2002 through October 2003, July 7,
          2009 through July 24, 2013, and August 7, 2013 through October 3, 2013, as well as the
          decisions regarding the appellant's transfers for the period of July 7, 2009 through July 24,
          2013, along with the accompanying administrative records, and places the case in
          continuance to allow the parties to argue;


          Sets the cause for hearing on September 26, 2022 at 12:00 p.m. for 10 minutes to set the
          procedural schedule;


          Declares inadmissible the main request to enjoin the Belgian State to cease judicial
          cooperation with the United States in the prosecution of the appellant,


          Declares the subsidiary request for judicial cooperation admissible and well-founded,
          and enjoins the Belgian State to notify the present judgment to each of the persons who are
          or would be called to testify in the United States, inviting them to take due note of it,
          particularly with regard to the paragraphs concerning the violation of the principle of res
          judicata, the principle of non bis in idem and the principle of speciality in extradition,
          insofar as witnesses may be invited to appear before the American courts and be called
          upon to provide information relating to the facts excluded from the exequatur granted to
          the international arrest warrant;


          Insofar as necessary, counsel for the appellant may make such disclosure to these witnesses
          themselves,


          Enjoins the Belgian State to send a diplomatic note to the American authorities requesting the
          return of the appellant to Belgian territory and undertaking to negotiate with them the
          possible terms of this repatriation. Condemns the Belgian State to pay a fine of
          €10,000.00 per day of delay starting on the 30th day following the service of this
          judgment, up to a maximum of €100,000.00 in the event that this injunction is not complied
          with, which the Belgian State must justify to counsel for the appellant.


          In case of agreement on the repatriation of the appellant, enjoins the Belgian State to issue to
          the appellant all the documents required for his travel and his entry on the Belgian territory,


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        Orders the Belgian State to pay the appellant compensation of
       - 98,333.00 plus compensatory interest at the legal rate from the average date of October
       1", 2017 to the date of this judgment and judicial interest thereafter ;
        1 provisional on a compensation not currently assessable for the appellant's future
       detention in the United States ;
       - 1 € provisional for medical expenses required by the appellant's state of health;
       - 1 € provisional in relation to the permanent incapacity resulting from its conditions of
       detention;


       Enjoins the Belgian State to request from the U.S. authorities the possibility for the
       appellant to receive the visit and medical follow-up of the doctors of his choice and to
       justify this request to the appellant's counsels within thirty days of the service of the present
       judgment under penalty of a fine of 10.000,00 € per day of delay, with a maximum of
       100.000,00 €;


       Orders the Belgian State to pay the appellant compensation of €1,500.00 for violation of his
       right to marry, plus compensatory interest at the legal rate from October 3, 2013 until
       the date of this judgment and judicial interest thereafter ;


       Orders the Belgian State to pay the costs of the two proceedings against Mr. TRABELSI and
       reserves the right to liquidate them in view of the reopening of the proceedings.




       Thus judged and pronounced at the public civil hearing of the 1ᵉ'"chamber F of the Brussels
       Court of Appe! on September 12, 2022,




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        Where were present and seated:

       M. SALMON                      President
       H. REGHIF                      Advisor
       F. FOGLI                       Advisor
       A. MONIN                       Clerk




                 A. MONIN                                                     F. F




                   . REG IF                                                   M. SALMON




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                           EXHIBIT 4
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                                   Directorate General Legislation, Fundamental Rights and Freedoms
  V         JUSTICE
                                                          Central Authority international cooperation in criminal matters



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   TEL         +32 2 542 71 NN                                           Mrs. Colette FORD
   E-MAIL      steven.limbourg@just.fgov.be                              Trial Attorney Office of International Affairs
   ADRESS      Boulevard de Waterloo 115, 1000 Brussels                  1301 New York Avenue, NW Suite 800,
                                                                         Keeney Building
   DATE        07 December 2022
                                                                         WASHINGTON D.C. 20530 USA
   OUR REF..   WL33/07/33.810/E
   YOUR REF.
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   Dear Mrs. FORD,


   The judgment dated September 12th, 2022, by the Court of Appeal for Brussels ordered the Belgian
   Government to request the United States to allow Nizar Trabelsi to receive the visit of a medical doctor
   or medical doctors of his own choice.


   For your convenience, the said judgment is attached to this note.


   May I ask you to confirm receipt of this letter and its attachment.



   Yours sincerely,

   On behalf of the Minister of Justice


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    Steven Limbourg                     Steven Limbourg
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   Steven Limbourg
   Director Criminal Law




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                           EXHIBIT 5
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     Mandates of the Special Rapporteur on torture and other cruel, inhuman or degrading treatment
     or punishment; the Working Group on Arbitrary Detention; the Special Rapporteur on the right
     of everyone to the enjoyment of the highest attainable standard of physical and mental health and
         the Special Rapporteur on the promotion and protection of human rights and fundamental
                                   freedoms while countering terrorism

      Ref.: AL USA 1/2022
      (Please use this reference in your reply)

                                                                                               25 February 2022

     Excellency,

             We have the honour to address you in our capacities as Special Rapporteur on
     torture and other cruel, inhuman or degrading treatment or punishment; Working
     Group on Arbitrary Detention; Special Rapporteur on the right of everyone to the
     enjoyment of the highest attainable standard of physical and mental health and Special
     Rapporteur on the promotion and protection of human rights and fundamental
     freedoms while countering terrorism, pursuant to Human Rights Council resolutions
     43/20, 42/22, 42/16 and 40/16.

             In this connection, we would like to bring to the attention of your Excellency’s
     Government new information we have received concerning the ongoing prolonged
     solitary confinement, under Special Administrative Measures (SAMs), of Mr. Nizar
     Abdelaziz Trabelsi and his deteriorating physical and mental health.

             Mr. Trabelsi has been the subject of a previous communication sent on 16
     December 2020 (USA 29/2020) by Special Procedures mandate holders, with regards
     to the severe mental impact of the prolonged solitary confinement Mr. Trabelsi has
     been subjected to since his extradition to the United States in 2013. We regret the lack
     of response from your Excellency’s Government and remain concerned in light of the
     recent developments.

                  According to the information received:

                  Nizar Ben Abdelaziz Trabelsi is a Tunisian national born in July 1970 in
                  Sfax.He was arrested on 3 September 2001 in his flat in Uccle, Belgium, and
                  convicted of several offences under Belgian law, including terrorism charges,
                  notably for attempting to commit a suicide attack on the Kleine Brogel
                  military base, a NATO facility housing US military personnel. On 3 October
                  2013, Mr Trabelsi was extradited to the United States where he is currently
                  imprisoned and awaiting trial, in the Northern Neck Regional jail. Mr. Trabelsi
                  is restricted to his cell for 23 hours per day; is prevented from communicating
                  with other prisoners and is deprived of adequate exercise, educational and
                  work facilities, natural daylight, and adequate medical treatment.

                  Concerns on physical and mental health

                  On 30 October 2020, to assess the impact of prolonged solitary confinement
                  on the mental and physical well-being of Mr. Trabelsi, his neuropsychiatrist
                  re-examined him and reported findings of alarming levels of psychological
                  distress and signs of psychosis, such as, hearing voices; experiencing sporadic
                  hallucinations; periodic episodes of self-harm and suicidal thoughts; paranoia
                  and obsessional preoccupations, amongst others.
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           On 28 March 2021, the Federal Public Defender’s Office in Washington DC
           ordered a re-examination of Mr. Trabelsi’s mental and physical state, in order
           to assess the continued impact of eight years of solitary confinement under
           SAMs. The report confirmed that most, if not all, previously identified and
           more recently developed medical conditions were exacerbated by the acute
           stress caused by the prolonged solitary confinement. More alarming still,
           would be the failure to adequately treat Mr. Trabelsi, as the report finds that
           out of nine illnesses, eight are incorrectly treated.

           Most of Mr. Trabelsi’s health conditions are treatable. His reported chronic
           headaches could be prevented by diming the artificial lights, on 24 hours a day
           in his cell and known to cause severe headaches due to sleep deprivation. His
           hypertension could be prevented by increasing the rate of sporting activities,
           also closely linked to high blood pressure. The alarming swelling in
           Mr. Trabelsi’s legs, which considerably worsened recently, should have been
           diagnosed and treated more than three years ago when blood tests were
           ordered in 2018. The lack of adequate treatments has exacerbated the
           symptoms and if incorrectly treated, could lead to life threatening diseases.

           These ailments are exacerbated by the reported lack of efforts made by the
           prison administration to find ways to adequately communicate with
           Mr. Trabelsi. Language barriers are known to aggravate an already acute sense
           of isolation. In one particular case, Mr. Trabelsi was not able to express his
           medical or dietary needs correctly to the prison guards. When requesting
           alimental adjustments for his stomach ulcer, the guards made little efforts to
           provide a translator and thus failed to take the appropriate measures, which has
           exacerbated his ulcer. The lack of response has continued to cause prolonged,
           unnecessary and preventable suffering to Mr. Trabelsi.

           Mr. Trabelsi’s mental health continues to deteriorate; he is presenting alarming
           signs of extreme general mistrusts and paranoia, causing him to recently reject
           contact with several of his attorneys. Furthermore, the rare in person
           interactions Mr. Trabelsi had with them and thus with the outside world, were
           reduced considerably due to the spread of the SARS-COV-2 virus; likewise he
           has not been able to withstand noise due to the ongoing headaches, making
           phone calls difficult. Mr. Trabelsi was recently permitted to receive a
           monitored phone call from his family. The last time he had spoken to them
           was in 2018. Since the previous communication, it has been observed with
           concern that Mr. Trabelsi has further withdrawn into himself.

           Mr. Trabelsi is being denied appropriate medical and psychosocial support,
           further affecting his mental health and well-being, to the extent that he has
           engaged in desperate and self-destructive acts. His solitary confinement, his
           inability to interact with other human beings, his lack of sunlight and exercise
           and the constant artificial light causing severe sleep deprivation combined to
           impact his mind and body in harmful ways.

           Furthermore, since his extradition to the United States in 2013, which
           according to the European Court of Human Rights was performed in violation
           of Article 3 of the European Convention of Human Rights (Trabelsi v
           Belgium, 2014), Mr. Trabelsi’s pre-trial detention has been routinely extended


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               for the past eight years; with no apparent indication as to when his trial may
               take place, in serious violation of his right to a trial without undue delay. All
               stages of a criminal proceeding must take place “without undue delay”, thus,
               appeals must also be handled expeditiously. The delay attributable to the
               COVID-19 pandemic cannot justify the current significant postponements in
               Mr. Trabelsi’s judicial procedures.

               While we do not wish to prejudge the accuracy of these allegations, we are
       seriously concerned by Mr. Trabelsi’s prolonged pre-trial detention for over 8 years,
       and his uninterrupted solitary confinement under “Special Administrative Measures”
       (SAM) during that period, restricting all contacts with the outside world, including
       with family, affecting his mental and physical health to a point that it amounts to
       torture or other cruel, inhuman or degrading treatment or punishment.

               Governments have the obligation to protect the right to physical and mental
       integrity of all persons deprived of their liberty in their custody. This right is set forth
       inter alia in the Universal Declaration of Human Rights (UDHR), the International
       Covenant on Civil and Political Rights (ICCPR) and the Convention against Torture
       and Other Cruel, Inhuman or Degrading Treatment and Punishment (CAT). In this
       connection, we are drawing the attention of your Excellency’s Government to article
       10, paragraph 1 of the ICCPR, which provides that “All persons deprived of their
       liberty shall be treated with humanity and with respect for the inherent dignity of the
       human person.”

               As of today, Mr. Trablesi has been subjected to 8 years of pre-trial detention in
       continued solitary confinement. This situation clearly can no longer be reconciled
       with the human right to due process and fair trial, including the right be tried with
       undue delay (Article 14.1.c ICCPR), which applies to all defendants including
       individuals prosecuted for terrorism-related offences. Furthermore, unduly prolonged
       pre-trial detention may also amount to arbitrary detention, which is prohibited under
       international human rights law in all circumstances, including during internal
       disturbances and armed conflict. In addition to international human rights law, the
       Fifth and Fourteenth Amendments of the US Constitution also guarantee the
       fundamental right to due process, which cannot be restricted or deprived through
       procedural practices that interfere with the overall right to claim justice.1

               In connection with the above alleged facts and concerns, please refer to the
       Annex on Reference to international human rights law attached to this letter which
       cites international human rights instruments and standards relevant to these
       allegations.

              We are issuing this letter in order to safeguard the rights of the above
       mentioned individual from irreparable harm, without prejudicing any eventual legal
       determination.

              As it is our responsibility, under the mandates provided to us by the Human
       Rights Council, to seek to clarify all cases brought to our attention, we would be
       grateful for your observations on the following matters:

               1.       Please provide any additional information and/or comment(s) you may
                        have on the above-mentioned allegations.
   1   Human Rights Committee, General Comment No. 32, UN Doc. CCPR/C/GC/32 (2007), para. 2


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           2.   Please provide legal and factual grounds for maintaining Mr. Trabelsi
                in continued solitary confinement from the date he was extradited to
                the USA until now, that is for an uninterrupted period of more than 8
                years, in application of the Special Administrative Measures; and
                explain how those measures comply with international human rights
                law binding on the USA, and the related universally recognized
                standards, particularly in light of their physical and mental health
                effects.

           3.   Please provide detailed information, including legal and other
                documents, regulating the use of solitary confinement against persons
                deprived of their liberty, at any stage of the legal proceedings, and after
                sentencing, including any provision aimed at mitigating the adverse
                effects of that practice on their physical and psychological health;

           4.   Please explain why the prison administration does not seem to have
                taken any measure to modify the conditions of pre-trial detention of
                Mr. Trabelsi (i.e. over 8 years of solitary confinement), particularly in
                the light of two consecutive neuropsychiatric examinations 2020 and
                2021, both of which corroborated each other, identified 9 ailments, and
                found that 8 of these were incorrectly treated.

           5.   Please explain on which grounds a prison administration can ignore the
                results of two judicially-requested medical examinations, and continue
                to detain individuals in conditions that seriously threaten their mental
                and physical health and integrity and, therefore, must be regarded as
                cruel, inhuman or degrading?

           6.   Please provide information on the steps taken by the Government or
                the judiciary to investigate the cruel, inhuman and degrading conditions
                under which Mr. Trabelsi has been detained for more than 8 years; to
                ensure personal and institutional accountability for such abuse, and to
                provide full redress and rehabilitation for the resulting harm.

           7.   Please provide information on any measure taken, or envisaged to be
                taken, to provide adequate dietary regime and appropriate medical care
                including psychosocial support, to Mr. Trabelsi, in light of his seriously
                deteriorating physical and mental health.

           8.   Please provide information on the steps taken to reform the practice of
                prolonged and indefinite solitary confinement in general; and when
                applied to persons with mental conditions and psychosocial disabilities
                in particular.

           9.   Please provide detailed information on existing mechanisms, if any, to
                oversee and review in a systematic manner and on a regular basis the
                length and conditions of detention of pre-trial detainees, especially
                when they risk to seriously undermine the mental and physical health
                and integrity of a detainee.




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            10.    Please also describe existing avenues and mechanisms of reduction of
                   sentences, namely with regard to life sentences, and in particular with
                   regard to terrorism offenses, and the modalities of their implementation
                   in practice.

            While awaiting a reply, we respectfully urge that prompt measures be taken to
     review and alleviate the conditions of detention of Mr. Trabelsi with a view to
     bringing them into compliance with international human rights law and standards,
     most notably the absolute and non-derogable prohibition of torture and ill-treatment,
     including the prohibition of prolonged solitary confinement.

            We would like to inform your Excellency’s Government that after having
     transmitted an allegation letter to the Government, the Working Group on Arbitrary
     Detention may transmit the cases through its regular procedure in order to render an
     opinion on whether the deprivation of liberty was arbitrary or not. Such letters in no
     way prejudge any opinion the Working Group may render. The Government is
     required to respond separately to the allegation letter and the regular procedure.

             We may publicly express our concerns in the near future in this case as, in our
     view, the information at hand is sufficiently reliable, indicates a matter warranting
     prompt attention, and raises serious human rights concerns which we believe the
     wider public should be informed of. Any public expression of concern on our part will
     indicate that we have been in contact with your Excellency’s Government’s to clarify
     the issue/s in question.

            This communication and any response received from your Excellency’s
     Government will be made public via the communications reporting website within
     60 days. They will also subsequently be made available in the usual report to be
     presented to the Human Rights Council.

            Please accept, Excellency, the assurances of our highest consideration.

                                         Nils Melzer
       Special Rapporteur on torture and other cruel, inhuman or degrading treatment or
                                         punishment

                                   Miriam Estrada-Castillo
                   Vice-Chair of the Working Group on Arbitrary Detention

                                      Tlaleng Mofokeng
     Special Rapporteur on the right of everyone to the enjoyment of the highest attainable
                            standard of physical and mental health

                                    Fionnuala Ní Aoláin
     Special Rapporteur on the promotion and protection of human rights and fundamental
                             freedoms while countering terrorism




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                                             Annex

                         Reference to international human rights law

            In connection with above alleged facts and concerns, we would like to refer
     your Excellency’s Government to the relevant international norms and standards that
     are applicable to the issues brought forth by the situation described above.

            The prohibition of torture and other cruel, inhuman or degrading treatment or
     punishment, as an international norm of jus cogens, is reflected inter alia, in article 5
     of the Universal Declaration of Human Rights (UDHR), articles 2 and 16 of the
     Convention against Torture and Other Cruel, Inhuman or Degrading Treatment or
     Punishment (CAT) and Article 7 of the International Covenant on Civil and Political
     Rights (ICCPR).

             In this connection, we would like to bring to your Excellency’s Government
     attention the comment of the Committee Against Torture stating that “while the State
     party has indicated that there is no systematic use of solitary confinement in the
     United States”, the Committee remains concerned about reports of extensive use of
     solitary confinement and other forms of isolation in United States prisons, jails and
     other detention centres, for purposes of punishment, discipline and protection, as well
     as for health-related reasons.” The Committee also raised concern about the use of
     solitary confinement for indefinite periods of time and its use with respect to juveniles
     and individuals with mental disabilities, stating that full isolation of 22 to 23 hours a
     day in super-maximum security prisons is unacceptable (art. 16).
     CAT/C/USA/CO/3-5 (CAT 2014).

             In the Rapporteur’s interim report to the General Assembly of 5 August 2011
     (A/66/268), the Special Rapporteur on torture and other cruel, inhuman or degrading
     treatment or punishment defined solitary confinement, in accordance with the Istanbul
     Statement on the Use and Effects of Solitary Confinement, as the physical and social
     isolation of individuals who are confined in their cells for 22 to 24 hours a day. He
     observed that while solitary confinement for short periods of time may be justified
     under certain circumstances, with adequate and effective safeguards in place, the use
     of prolonged (in excess of 15 days under conditions of total isolation) or indefinite
     solitary confinement may never constitute a legitimate instrument of the State, as it
     may cause severe mental and physical pain or suffering, a point which has been
     reiterated in paragraph 28 of the General Assembly resolution 68/156. Prolonged or
     indefinite solitary confinement runs afoul of the absolute prohibition of torture and
     other cruel, inhuman or degrading treatment or punishment. Furthermore, due to the
     prisoner’s lack of communication, as well as the lack of witnesses inside the prison,
     solitary confinement may also give rise to other acts of torture or ill-treatment.

             Furthermore, the Special Rapporteur on Torture stressed that “[E]ven if
     permitted by domestic law, none of the following methods of inflicting mental pain or
     suffering can be regarded as “lawful sanctions”: prolonged or indefinite solitary
     confinement; placement in a dark or constantly lit cell; collective punishment; and
     prohibition of family contacts. (In accordance with the Nelson Mandela Rule n.43).
     Even more extreme than solitary confinement is “incommunicado detention”, which
     deprives the inmate of any contact with the outside world, in particular with medical
     doctors, lawyers and relatives and has repeatedly been recognized as a form of torture.



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             Furthermore, we would like to recall the updated United Nations Standard
     Minimum Rules for the Treatment of Prisoners (the Mandela Rules, 2015) which lay
     out generally accepted principles and practice in the treatment of prisoners and prison
     management. In particular, we would like to refer to Rules 43.1(b), 43.3, 44, 45 and
     46 which refer to the use of disciplinary sanctions or restrictive measures, including
     solitary confinement and the role of health-care personnel regarding any adverse
     effect of disciplinary sanctions or other restrictive measures on the physical or mental
     health of prisoners subjected to such sanctions or measures.

             Rule 43 of the Mandela Rules prohibits prolonged or indefinite solitary
     confinement and defines prolonged solitary confinement as solitary confinement for a
     time period in excess of 15 consecutive days in Rule 44. The Mandela Rules further
     specify that solitary confinement may be used only in exceptional cases as a last
     resort, for as short a time as possible and subject to independent review in Rule 45.
     Further, Rule 45.2, explicitly prohibit the imposition of isolation for punishment and
     prohibit the imposition of isolation “in the case of prisoners with mental or physical
     disabilities when their conditions would be exacerbated by such measures.”

             We would also like to underline conclusion of the Special Rapporteur on the
     promotion and protection of human rights and fundamental freedoms while
     countering terrorism, calling on States to “[E]nsure that all detainees are held in
     accordance with international human rights standards, including the requirement that
     all detainees be held in regularized facilities, that they be registered, that they be
     allowed contact with the outside world (lawyers, International Committee of the Red
     Cross, where applicable, family), and that any form of detention is subject to
     accessible and effective court review, which entails the possibility of release”.

             Paragraph 6 of General Comment No. 20 of the Human Rights Committee
     states that prolonged solitary confinement of the detained or imprisoned person may
     amount to acts prohibited by article 7 [on the prohibition of torture and other cruel,
     inhuman or degrading treatment or punishment] of the ICCPR.

             We also would like to draw the attention of your Excellency’s Government to
     the United Nations Standard Minimum Rules for the Treatment of Prisoners (the
     Mandela Rules, 2015) which lay out generally accepted principles and practice with
     regard the treatment of prisoners and prison management. In particular, Rule 43. 1 (a),
     (b) and (c) proscribe any restriction or disciplinary sanctions amounting to torture or
     other cruel, inhuman or degrading treatment or punishment including, most notably,
     indefinite solitary confinement; prolonged solitary confinement and the placement of
     a prisoner in a dark or constantly lit cell. Prolonged solitary confinement is defined in
     Rule 43 as any confinement of prisoners for 22 hours or more a day without
     meaningful human contact in excess of 15 consecutive days. Moreover, even below
     the absolute maximum duration of 15 consecutive days, solitary confinement can only
     be used as a last resort, for as short a time as possible and subject to independent
     review (Rule 45). Rule 46 even completely prohibits the solitary confinement of
     prisoners with mental or physical disabilities when their conditions would be
     exacerbated by such measures. In addition, article 7 of the Basic Principles for the
     Treatment of Prisoners provides that “efforts addressed to the abolition of solitary
     confinement as a punishment, or to the restriction of its use, should be undertaken and
     encouraged”.




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             In his 2011 report to the UN General Assembly (A/66/268) the Special
     Rapporteur on torture stated that when solitary confinement inflicts severe mental and
     physical pain or suffering on a detainee it can amount to cruel, inhuman or degrading
     treatment or punishment and even torture. He specified that, beyond the limit of 15
     consecutive days, some of the harmful psychological effects of isolation can become
     irreversible.

             We respectfully remind your Excellency’s Government of the relevant
     provisions of the United Nations Security Council resolutions 1373 (2001),
     1456(2003), 1566 (2004), 1624 (2005), 2178 (2014), 2242 (2015), 2341 (2017),
     2354 (2017), 2368 (2017), 2370 (2017), 2395 (2017) and 2396 (2017); as well as
     Human Rights Council resolution 35/34 and General Assembly resolutions 49/60,
     51/210, 72/123 and 72/180. All these resolutions require that States ensure that any
     measures taken to combat terrorism and violent extremism, including incitement of
     and support for terrorist acts, must comply fully with all their obligations under
     international law. In this regard, we also wish to refer to the Human Rights Council
     resolution 22/6, which urges States to ensure that measures to combat terrorism and
     preserve national security are in compliance with their obligations under international
     law and do not hinder the work and safety of individuals, groups and organs of society
     engaged in promoting and defending human rights.

             We would also like to reiterate the Ruling of the European Court of Human
     Rights in Vinter and Others v UK (2013), which concluded that “[A] whole life
     prisoner is entitled to know, at the outset of his sentence, what he must do to be
     considered for release and under what conditions, including when a review of his
     sentence will take place or may be sought. Consequently, where domestic law does
     not provide any mechanism or possibility for review of a whole life sentence, the
     incompatibility with article 3 on this ground already arises at the moment of the
     imposition of the whole life sentence and not at a later stage of incarceration. The
     Court elaborated on this standard in the Trabelsi v Belgium (September 2014) by
     holding that the necessary review mechanism must enable the national authorities to
     ascertain, on the basis of objective, pre-established criteria of which the prisoner had
     precise cognisance at the time of imposition of the life sentence, whether, while
     serving his sentence, the prisoner has changed and progressed to such an extent that
     continued detention can no longer be justified on legitimate penological grounds.

             Finally, we would like to recall that, in line with UN Security Council
     resolutions, the Special Rapporteur on human rights while countering terrorism has,
     on numerous occasions, noted that all measures adopted in the context of countering
     terrorism, including those dealing with the rights of non-nationals, deportations and
     extradition must comply with international human rights law. Therefore, any transfer
     of a terrorism suspect or convict from one State to another must be based on law and
     follow the procedures set forth in law. Further, there is a right to an effective review
     mechanism for any decision to expel, deport or extradite. Article 13 of the
     International Covenant on Civil and Political Rights provides that “An alien lawfully
     in the territory of a State Party to the present Covenant may be expelled therefrom
     only in pursuance of a decision reached in accordance with law and shall, except
     where compelling reasons of national security otherwise require, be allowed to submit
     the reasons against his expulsion and to have his case reviewed by, and be represented
     for the purpose before, the competent authority or a person or persons especially
     designated by the competent authority.” The Human Rights Committee has clearly
     stated that the right to challenge an expulsion decision and to have one’s case


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     reviewed applies not only to expulsion and deportation decisions, but also to
     extradition, including when the State invokes reasons linked to national security. The
     review proceedings must provide a real opportunity to submit reasons against
     deportation or extradition (Human Rights Committee, Pierre Giry v. Dominican
     Republic, Communication No. 193/1985, U.N. Doc. CCPR/C/39/D/193/1985 (1990)).
     The right to be expelled, deported or extradited only on the basis of a decision
     adopted in accordance with the applicable law, and to submit reasons against
     expulsion and to have them examined, applies also in the case of terrorism suspects.
     Similarly, all aspect of the right to a fair trial must be respected, even when dealing
     with acts of terrorism. This includes the application of the rule ne bis in idem,
     guaranteed under article 14(7) of the International Covenant on Civil and Political
     Rights.




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                           EXHIBIT 6
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               FEDERAL PUBLIC SERVICE

                           JUSTICE


                               •
                     CENTRAL AUTHORITY
                                                                                                                   Mrs. Colette FORD

          International Co-operation in Criminal Matters
                                                                                                                   Trial Attorney OIA-DOJ

                                                                                                                   1301 New York Avenue, NW Suite
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            Waterloolaan 115 Boulevard de Waterloo

                                                                                                                   WASHINGTON D.C. 20530
                    1000 Brussels, BELGIUM

                                                                                                                   UNITED STATES OF AMERICA




     URGENT
     Date            OS March 2020

     Y. Ref.
     0. Ref.         WL33/33.810/ E

     Re               EXTRADITION - Nizar TRABELSI : notification of judgment of the First Instance (Civil) Court for Brussels dated February 26, 2020



     Dear Mrs. Ford,



     On February 26'\ 2020, the First Instance (Civil) Court for Brussels has ordered the Belgian Government to formally notify its
     judgment, including the following wording as translated into English :


     " In accordance with the analysis that prevails in Belgium, the extradition of Mr Trabelsi does not make possible to prosecute him
     in the United States so that he can be tried for the facts stated in the Overt Acts n°' 23, 24, 25 and 26 contained in paragraph 10
     of the first charge and supposedly repeated in support of the other charges [of the U.S. warrant of arrest that is at the root of
     the extradition (indictment by the Grand Jury dated 3 November 2006, filed with the clerk's office of the U.S. District Court of
     the District of Columbia], i.e. the facts related to the planned attack on l(leine Brogel military base.


     With the exception of the words in italics and between brackets, the conclusion is the one contained in paragraph 41 of the
     judgement issued by the Court of appeal of Brussels in summary proceedings and transmitted by the Belgian authorities to the US
     Department of Justice on 9 August 2019.


     The French-speaking Court of First Instance of Brussels came to the same conclusion for the reasons set out in the judgement on
     the merits enclosed herewith (in particular n°' 123 to 135 of this judgement)."




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      May I ask you to confirm receipt of this letter and its attachment.




      Yours sincerely,
      On behalf f the Minister of Justice




 5    Steven LIMBOURG
      Counsellor-general
      Department of Criminal law




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                           EXHIBIT 7
              Case   1:06-cr-00089-RDM
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                           EXHIBIT 8
       Case 1:06-cr-00089-RDM Document 562 Filed 04/14/23 Page 1 of 16
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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


  UNITED STATES,


          v.
                                                              No. 06-cr-89 (RDM)
  NIZAR TRABELSI,

                  Defendant.


                                               ORDER

 In the interest of clarity, the Court notes the following:

   1. At this time, the Court has not ordered a competency evaluation of Defendant Trabelsi.

       The Court did grant standby counsel’s request for funding to hire a psychologist to

       conduct an independent evaluation of Trabelsi and ordered, in light of the fast-

       approaching trial date, that any such evaluation should be completed no later than April

       17, 2023. As the Court explained in its April 13, 2023 memorandum opinion (attached to

       this order as Appendix A), “standby counsel have failed to produce any evidence that

       Trabelsi suffers from a ‘severe mental illness,’ rendering him incompetent to conduct the

       trial on his own.” Dkt. 562 at 11. The Court also noted that, “over the course of many

       lengthy hearings held over the last several months, . . . the Court has not observed any

       behavior—or change in behavior—that would cause it sua sponte to question Trabelsi’s

       competence to represent himself.” Id.

   2. As the Court’s April 13, 2023 memorandum opinion also confirmed, the trial remains

       scheduled to commence on May 8, 2023. Id. at 13. Although, on April 12, 2023, the

       Court raised the question of whether the trial should be delayed by three weeks to permit
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       for prescreening of juror availability, the Court has concluded that such a delay is

       inappropriate because it will result in the unavailability of at least two government

       witnesses. See Dkt. 559 at 2 (“[T]wo out of five overseas witnesses . . . are refusing to

       testify if the trial is delayed again, and the government is still waiting to hear from the

       others.”). Moreover, in light of the government’s representation that trial is unlikely to

       last more than seven weeks, Dkt. 557 at 3, the Court does not anticipate that jury selection

       will take more than a few days.

   3. In an April 13, 2023 status report, standby counsel represented that “th[is] case involves a

       pro se defendant who will be conducting the jury selection.” Dkt. 556 at 1. But at a

       January 10, 2023 status conference addressing jury selection, standby counsel

       represented—after conferring with Trabelsi—that standby counsel “w[ould] do the jury

       selection.” Hrg. Tr. (Rough at 7:4–5). The Court noted that, “if [Trabelsi] has a change of

       heart and thinks he wants to do [jury selection] instead,” the Court would not allow the

       parties directly to question potential jurors. Id. at 7:6–14. If Trabelsi wishes to conduct

       the jury selection himself, the Court will, as authorized by Fed. R. Crim. P. 24(a),

       “examine prospective jurors” and “permit the attorneys for the parties,” including

       Trabelsi, to “submit further questions that the court may ask if it considers them proper.”

       Fed. R. Crim. P. 24(a)(1), (2)(B).

       SO ORDERED.

                                                       /s/ Randolph D. Moss
                                                       RANDOLPH D. MOSS
                                                       United States District Judge


 Date: April 14, 2023



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